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                                            UNITED STATES OF AMERICA VS. COOK COUNTY, ET. AL.
                                                             Civil No. CV-02946
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   A.       Protection from Harm
   31.      Use of Force by Staff
A. 31. a.   CCDOC shall maintain comprehensive and contemporary policies and procedures, in accordance                                       x
  (14)      with generally accepted correctional standards, surrounding the use of force and with particular
            emphasis regarding permissible and impermissible uses of force.
A.31. b.    CCDOC shall maintain use of force policies and pre-service and in-service training programs for                                  x
  (15)      correctional officers and supervisors that address the following impermissible uses of force:

            1. use of force as a response to verbal insults or inmate threats where there is no immediate threat to
                the safety of the institution, inmates, or staff;
            2. use of force as a response to inmates’ failure to follow instructions where there is no immediate
                threat to the safety of the institution, inmates, or staff, unless CCDOC has attempted a hierarchy of
                nonphysical alternatives that are documented;
            3. use of force as punishment or retaliation;
            4. use of force involving striking, hitting, or punching a restrained and non-combative inmate;
            5. use of force against an inmate after the inmate has ceased to offer resistance and is under
                control;
            6. use of choke holds on an inmate, unless lethal force is justified; and
            7. use of inappropriate or excessive force.
A.31.c.     CCDOC shall maintain a policy to ensure that staff adequately and promptly report all uses of force,                             x
 (16)       in accordance with generally accepted correctional standards.
A.31.d.     CCDOC shall require that use of force reports:                                                                                   x
 (18)       1.      be written in specific terms in order to capture the details of the incident
            2.      contain an accurate account of the events leading to the use of force incident;
            3.      include a description of the instrument(s) of restraint or control, if any, and the manner in which
            it was used;
            4.      note whether an inmate disciplinary report was completed in connection with the incident
            that prompted the use of force;
            5.      describe the nature and extent of apparent and reported injuries sustained both by the inmate
            and staff member;

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            6.       contain the date and time medical attention was actually provided;
            7.       describe, in detailed, factual terms, the type and amount of force used as well as the precise
            actions taken in a particular incident; and
            8.       note whether a use of force was videotaped. If the use of force is not videotaped, the
            reporting correctional officer and supervisor will provide an explanation as to why it was not
            videotaped.
A.31.e.     CCDOC shall continue to require prompt review by the shift commander of all use of force reports.                                 x
 (19)        The shift commander’s review of use of force reports shall include review for completeness and
             procedural errors, as well as review of the substantive content. If the use of force report does not
             comply with provision 31.d. of this Agreed Order, the shift commander shall return it to the reporting
             officer for revision and resubmission until it is compliant. If the shift commander believes a use of
             force may have been inappropriate or excessive, he or she shall immediately refer the incident for
             investigation.
A.31.f.     CCDOC shall ensure that senior management review of uses of force includes:                                                       x
 (21)       1. a timely review of medical documentation of inmate injuries, if any is submitted, as provided by
                Qualified Medical Staff, including documentation surrounding the initial medical encounter, an
                anatomical drawing that depicts the areas of sustained injury, and information regarding any
                further medical care; Coordinate with Dr. Shansky
            2. the inmate disciplinary report, if any, associated with the use of force; and
            3. the incident report, if any, associated with the use of force.
A. 31.g.    CCDOC [and Cermak] shall establish criteria that trigger referral for inappropriate or excessive use of                                          x
  (22)      force investigations, including but not limited to, documented or known injuries that are extensive or
            serious; injuries involving fractures or head trauma; injuries of a suspicious nature (including black eyes,
            injuries to the mouth, injuries to the genitals, etc.); and injuries that require treatment at outside
            hospitals.
A. 31. h.   When CCDOC review of use of force reports, and supporting records if applicable, reveals that                                     x
  (23)      reports of a use of force are materially inconsistent, conflicting, or suspicious, CCDOC shall refer that
            use of force incident for internal investigation.
 A.31.i.    CCDOC shall develop and implement a system to track all incidents of use of force that, at a                                      x
  (24)      minimum, includes the following information:
            1. a tracking number;
            2. the inmate(s) name;
            3. housing assignment;
            4. date;

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           5. type of incident;
           6. injuries (if applicable);
           7. medical care provided (if applicable);
           8. staff involved;
           9. reviewing supervisor;
           10. external reviews and results (if applicable);
           11. remedy taken (if appropriate); and
           12. administrative sign-off.
A.31.j.    CCDOC shall ensure that, promptly following a use of force incident, video or photographs are taken                         x
 (26)      of any and all reported or apparent injuries sustained by inmates and staff. The video or photographs
           will be maintained and will be included in the investigation package, if applicable. Coordinate with
           Dr. Shansky. See 31. F.
A.31.k.    CCDOC shall establish an “early warning system” that will document and track correctional officers                          x
 (27)      who are involved in use of force incidents and any complaints related to the inappropriate or
           excessive use of force, in order to alert CCDOC administration to any potential need for retraining,
           discipline, problematic policies, or supervision lapses. Appropriate CCDOC leadership, supervisors,
           and investigative staff shall have access to this information and monitor the occurrences. CCDOC
           senior management shall use information from the early warning system to improve quality
           management practices, identify patterns and trends, and take necessary corrective action both on
           an individual and systemic level.
A.31.l.    CCDOC shall ensure that a supervisor is present during all pre-planned uses of force, such as cell                          x
  (29)     extractions.
A.31.m.    Where there is evidence of staff misconduct related to inappropriate or unnecessary use of force                            x
  (31)     against inmates, CCDOC shall initiate personnel actions and seek disciplinary action appropriately for
           any correctional officer found to have:
           1. engaged in inappropriate or excessive use of force;
           2. failed to report or report accurately the use of force;
           3. retaliated against an inmate or other staff member for reporting an inappropriate or excessive use
                of force; or
           4. interfered or failed to cooperate with an internal investigation regarding use of force in a manner
                inconsistent with the staff member’s statutory or contractual rights.
A.31.n.    Where there is evidence of staff misconduct related to inappropriate or unnecessary use of force                            x
 (33)      against inmates, CCDOC shall consider, develop, and initiate systemic remedies as appropriate.


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A.31.o     CCDOC shall maintain accountability policies and procedures for the effective and accurate                                   x
 (35)      maintenance, inventory, and assignment of chemical and other security equipment, in accordance
           with generally accepted correctional standards.
A.31.p.    CCDOC shall continue to conduct use of force training in accordance with generally accepted                                  x
 (37)      correctional standards, including:
           1. CCDOC shall maintain an effective and comprehensive use of force training program.
           2. CCDOC shall continue to ensure that correctional officers receive adequate training in CCDOC’s
               use of force policies and procedures, including de-escalation and defensive tactics relating to use
               of force.
           3. CCDOC shall continue to ensure that correctional officers receive pre-service and in-service
               training on reporting use of force and completing use of force reports.
A.31.q.    CCDOC shall provide a process for inmates to report allegations of the inappropriate or excessive use                         x
 (39)      of force orally to any CCDOC staff member; said staff member shall give the inmate the opportunity
           to reduce his or her report to writing through a grievance or complaint form without discouragement.
A.31.r.    Following a use of force, when CCDOC staff transport an inmate to receive medical care by Cermak,                            x
 (42)      as necessary, the CCDOC staff member shall inform the Cermak staff member that the inmate was
           involved in a use of force. Coordinate with Dr. Shansky.
A.31.s.    Cermak shall ensure that, when providing medical treatment or assessment to an inmate following a                            x
 (43)      use of force, Qualified Medical Staff document the inmate’s injuries, if any, and any medical care
           provided. Cermak shall provide CCDOC senior management [OPR] with a brief summary
           documenting the initial medical encounter following a use of force, including an anatomical drawing
           that depicts the areas of sustained injury, if any, and information regarding any further medical care.
           Coordinate with Dr. Shansky. See 31.f.
A.31.t.    Cermak shall ensure that Qualified Medical Staff question, outside the hearing of other inmates or                                          x
 (44)      correctional officers if appropriate, each inmate who reports for medical care with an injury,
           regarding the cause of the injury. If, in the course of the inmate’s medical encounter, a health care
           provider suspects staff-on-inmate or inmate-on-inmate abuse, that health care provider shall
           immediately:
           1. report the suspected abuse to the Executive Director of the Office of Professional Review or other
               appropriate CCDOC administrator; and
           2. adequately document the matter in the inmate’s medical record.
 32.                                                             Safety and Supervision
32. a.     CCDOC shall maintain security and control-related policies, procedures, and practices that will result                       x


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 (45)      in a reasonably safe and secure environment for all inmates and staff, in accordance with generally
           accepted correctional standards.
           Coordinate with Grenawitzke
 32.b.     CCDOC shall maintain policies, procedures, and practices to ensure the adequate supervision of                                              x
 (46)      inmate work areas and trustees, in accordance with generally accepted correctional standards.
           Coordinate with Grenawitzke
 32.c.     CCDOC shall ensure that security staff conduct appropriate rounds with sufficient frequency to                               x
 (47)      provide inmates with reasonable safety. Rounds shall be conducted at least once every half hour, at
           irregular intervals, inside each housing unit. In the alternative, CCDOC may provide direct supervision
           of inmates by posting a correctional officer inside the day room area of a housing unit to conduct
           constant surveillance. More frequent rounds shall be conducted for special management inmates
           who require more intensive supervision for security and safety reasons. All security rounds shall be
           documented on forms or logs that do not contain pre-printed rounding times. Video surveillance may
           be used to supplement, but must not be used to replace, rounds by correctional officers.

32.d.      CCDOC shall ensure that security supervisors conduct daily rounds in the inmate housing units, and                                          x
(49)       document the results of their inspections.
32.e.      Cook County shall increase the use of overhead video surveillance and recording cameras to provide                           x
(50)       adequate coverage throughout the common areas of the Facility, including the RCDC, all division
           intake areas, mental health units, special management units, inmate housing units, and in common
           areas of the divisions.
 32.f.     CCDOC shall maintain a procedure to prevent inmates from possessing or having access to                                      x
 (52)      dangerous contraband, including conducting regular inspections of cells and common areas of the
           housing units to identify and prevent rule violations by inmates.
 32.g.     CCDOC shall review, and revise as applicable, all General Orders (“GOs”), Standard Operating                                 x
 (55)      Procedures (“SOPs”), and Post Orders on an annual basis, or more frequently as needed.
 32.h.     CCDOC shall revise policies, SOPs, and post orders for all armed posts to include proper use and safe                        x
 (56)      handling of weapons and provide specific instructions on use of deadly force and when and under
           what circumstances such force should be used, in accordance with generally accepted correctional
           standards.
 32.i.     CCDOC shall standardize security policies, procedures, staffing reports, and post analysis reports                           x
 (57)      across the divisions, to the extent possible, taking into account the different security levels and
           different physical layouts in the various divisions.


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 32.j.     CCDOC shall provide formal training on division-specific SOPs to correctional officers in accordance                             x
 (58)      with their assignments, and shall provide further specialized training for officers assigned to Special
           Management Units. Cermak Hospital shall provide Specialized training for officers assigned to
           psychiatric units. Coordinate with Drs. Shansky and Metzner. See also 44.f., 44.g., 44.h., 46.b., 46.e.,68.
 32.k.     CCDOC shall maintain in working order all monitoring equipment at the Facility that is under                                     x
 (60)      CCDOC’s direct control, including cameras, alarms, radios (hand held), interior and exterior lighting, x-
           ray and other screening equipment, and walk-through metal detectors. To the extent that the
           maintenance of any Facility monitoring equipment is under the control of DFM, CCDOC shall promptly
           report any maintenance needs and DFM shall prioritize its services to ensure that all monitoring
           equipment is maintained in working order. Coordinate with Grenawitzke
 32.l.     Absent exigent circumstances, CCDOC: (i) shall house each inmate assigned to a division that is                                            NA at
 (61)      celled to one permanent bed in a cell and shall not house any inmates (including those assigned to                                          this
           dormitory divisions) such that they are sleeping on the floor, on a mattress on the floor, or in any area                                  time
           not designed or redesigned as sleeping quarters; (ii) shall not house more than two inmates to a single
           cell (triple-bunking); and (iii) shall not hot-bunk any inmates.
32.m.      When exigent circumstances give rise to triple-bunking, CCDOC shall provide the third inmate in the                                        NA at
 (62)      triple-bunked cell a “boat,” stackable bunk, moveable platform, or cot, so that the inmate is not                                           this
           required to lay down directly on the cell floor or on a mattress on the floor.                                                             time

  33.                                                                  Security Staffing.
             The parties agree that correctional officer staffing and supervision levels at the Facility must be appropriate to adequately
              supervise inmates, to carry out the requirements of this Agreed Order, and to allow for the safe operation of the Facility,
               consistent with generally accepted correctional standards. Cook County and CCDOC shall take such actions as shall
           ensure that correctional officer staffing and supervision at the Facility are sufficient to achieve these purposes. These actions
                                                                 shall include the following:
 33.a.     In the fiscal year 2010 budget, Cook County shall allocate funds sufficient to allow for 210 additional         X
 (63)      correctional officer positions at the Facility. Consistent with provision 33.c, such funding may occur on
           a rolling basis, as appropriate in light of the time required to hire, train, and put on duty the additional
           210 new correctional officers.

 33.b.     CCDOC shall use its best efforts (through the maintenance of the written staffing plan required by                               x
 (64)      provision 33.h and otherwise) to ensure that the number of correctional officer vacancies is kept to
           the minimum practicable number at all times, taking into account that the timing of terminations and


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            resignations and the resulting rate of attrition may, in ordinary course, result in there being some
            vacancies at any given time.
33.c.i.ii   CCDOC shall fill the 210 additional correctional officer slots provided for in provision 33.a; fill the 285                                        x
 (69)       correctional officer vacancies that existed at the Facility as of July 17, 2009; and fill any correctional
            officer vacancies coming into existence after that date in the following manner:
                 i. By December 31, 2010, CCDOC shall hire, train, and put on duty at the Facility at least 448
                 [381] newly qualified correctional officers (in addition to those on duty as of December 31, 2009).
                 ii. By March 30, 2011, CCDOC shall hire, train, and put on duty at the Facility at least 174 [107]
                 newly qualified correctional officers (in addition to those on duty as of December 31, 2010).
 33.d.      The parties agree that for 30 months following the effective date of this Agreed Order, Cook County                                           NA at
 (71)       and CCDOC shall not be required to provide additional correctional officer staffing and supervision at                                         this
            the Facility beyond that which is necessary to ensure that correctional officer staffing and supervision                                      time
            are sufficient to achieve the purposes set out in the introductory paragraph of provision 33 and to
            comply with provisions 33.a-c above.
 33.e.      Within 30 months of the effective date of this Agreed Order, the CCDOC Monitor shall assess and                                               NA at
 (72)       make a recommendation on whether the correctional officer staffing and supervision levels are                                                  this
            appropriate to adequately supervise inmates at the Facility, in accordance with generally accepted                                            time
            correctional standards. If the CCDOC Monitor determines that staffing is inadequate, the CCDOC
            Monitor will make a recommendation regarding the appropriate number of correctional officer staff.
            If the parties do not accept the CCDOC Monitor’s staffing recommendation, CCDOC and Cook
            County shall agree to an independent, comprehensive study to determine the appropriate
            correctional officer staffing and supervision. The parties agree that the results of this staffing study shall
            provide guidance as to the sufficient number of qualified correctional officers necessary to operate
            the Facility safely and to carry out the requirements of this Agreed Order.
 33.f.      If the staffing study requires additional correctional officers, Cook County shall allocate funds sufficient                                  NA at
 (73)       to maintain correctional officer staffing levels necessary to carry out the requirements of this Agreed                                        this
            Order and to allow for the safe operation of the Facility, consistent with generally accepted                                                 time
            correctional standards.
 33.g.      If the staffing study requires additional correctional officers, and consistent with Cook County’s                                            NA at
 (74)       allocation of funds for security staffing, CCDOC shall hire and train sufficient number of qualified                                           this
            correctional officers and other staff to carry out the requirements of this Agreed Order and to allow for                                     time
            the safe operation of the Facility, consistent with generally accepted correctional standards,
            including:


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               1. Investigative staffing sufficient to meet the internal investigation responsibilities outlined in this
                    Agreed Order;
               2. Correctional officer staffing sufficient to provide inmates requiring treatment with adequate
                    access to appropriate medical and mental health care by providing timely movement of
                    inmates to medical units, transport of inmates who have been referred for outside specialty
                    care, and escort, if necessary, to Qualified Medical and Mental Health Staff on housing units;
                    and [Coordinate with Shansky, Metzner]
               3. Qualified staff sufficient to monitor security cameras in real time and allow for supervisory
                    viewing and retrieving at any time.
 33.h.     CCDOC shall maintain a written staffing plan that requires sufficient staffing to carry out the                                                   x
 (76)      requirements of this Agreed Order and to allow for the safe operation of the Facility, consistent with
           generally accepted correctional standards.
 33.i.     Absent exigent circumstances, CCDOC shall maintain a practice that does not allow for scheduled,                                             NA at
 (77)      planned, or expected cross-watching (a CCDOC practice of allowing one correctional officer to                                                 this
           simultaneously supervise two housing units from the control center of one of the units) at any time on                                       time
           all maximum security and Special Management Units, and during first and second shifts throughout
           the Facility.
 33.j.     CCDOC may permit cross-watching on third shift in housing units that are not maximum security or                                             NA at
 (78)      Special Management Units only if the Monitor does not object after consultation and review. The                                               this
           Monitor’s review of the appropriateness of third-shift cross-watching on a particular housing unit shall                                     time
           be guided by the sufficiency of sightlines between the units being cross-watched, the adequacy of
           video and/or audio technologies in place, and/or other factors that bear on the safety and security
           of inmates and staff. If the Monitor later objects to any cross-watching that is in effect because of the
           Monitor’s concerns that cross-watching on a particular housing unit presents an undue risk to the
           safety and security of inmates and staff, CCDOC shall immediately cease such cross-watching.
           CCDOC may renew cross-watching on that unit again if, after further consultation with and review by
           the Monitor, the Monitor does not object to such renewal. Although cross-watching is permitted
           under the limited circumstances described herein, CCDOC will work to eliminate the practice at the
           Facility.

  34.                                                             Incidents and Referrals
34. a.     CCDOC shall continue to ensure that staff adequately and promptly document all reportable                                          x
 (79)      incidents, including inmate fights, rule violations, inmate injuries, suicides and suicide attempts, cell
           extractions, medical emergencies, contraband, vandalism, escapes and escape attempts, fires, and

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           other incidents causing a disruption to standard CCDOC practice, in accordance with generally
           accepted correctional standards.
 34.b.     CCDOC shall continue to ensure that correctional officers receive formal pre-service and in-service                                x
 (80)      training on proper incident reporting policies and procedures, in accordance with generally
           accepted correctional standards.
 34.c.     CCDOC shall maintain a system to track all reportable incidents (as described in provision 34.a) that,                             x
 (81)      at a minimum, includes the following information:
            1. incident tracking number;
            2. the inmate(s) name;
            3. housing assignment;
            4. date;
            5. type of incident;
            6. injuries (if applicable);
            7. medical care (if applicable);
            8. primary and secondary staff involved;
            9. reviewing supervisor;
            10. external reviews and results (if applicable);
            11. remedy taken (if appropriate); and
            12. administrative sign-off.
34.d.      CCDOC shall require prompt administrative review of incident reports. Such reviews shall include a                                 x
(82)       case-by-case review of individual incidents as well as a systemic review in order to identify patterns of
           incidents. CCDOC shall incorporate such information into quality management practices and take
           necessary corrective action.
 34.e.     CCDOC shall ensure that incident reports, use of force reports and inmate grievances are screened                                  x
 (84)      for allegations of staff misconduct and, if the incident or allegation meets established criteria, that it is
           referred for investigation.
 34.f.     CCDOC shall maintain policies, procedures and practices requiring investigations to resolve issues                                 x
 (85)      identified during review of incident reports, disciplinary hearings, or inmate grievances, and determine
           appropriate remedies, in accordance with generally accepted correctional standards. At a
           minimum, CCDOC shall require timely and appropriate investigations of all suicides, serious suicide
           attempts, inmate-on-inmate violence resulting in serious injury, inmate-on-staff violence, inmate
           injuries requiring treatment by an outside hospital, inmate injuries of a suspicious nature (including
           black eyes, injuries to the mouth, injuries to the genitals, etc.), sexual misconduct between inmates,
           sexual misconduct involving staff, fires, escapes, escape attempts, and deaths.

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 34.g.     CCDOC shall ensure that any investigation reports indicating possible criminal behavior will be                          x
 (87)      referred to the appropriate law enforcement authority.
  35.                                                                  Investigations:
            Investigations at the Facility are conducted by independent departments under the Cook County Sheriff’s Office, including
              the Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s Police Department. The Cook County
             Sheriff will assume responsibility for requiring these investigatory units to comply with the relevant provisions of this Agreed
                                                                           Order.

 35.a.     CCDOC [OPR] shall maintain comprehensive policies, procedures, and practices for the timely and                                  x
 (88)      thorough investigation of alleged staff misconduct, in accordance with generally accepted
           correctional standards.
 35.b.     Internal investigations [OPR] shall be conducted by persons who do not have supervisory responsibility                           x
 (90)      for the staff member(s) being investigated.
 35.c.     CCDOC [OPR] shall ensure that all internal investigations will include timely, thorough, and                      x
 (92)      documented interviews of all relevant staff and inmates who were involved in, or witnessed, the
           incident in question.
35.d.      CCDOC [OPR] shall ensure that internal investigation reports shall include all supporting evidence,               x
(93)       including witness and participant statements, policies and procedures relevant to the incident,
           physical evidence, video or audio recordings, and relevant logs.
 35.e.     CCDOC [OPR] shall ensure that all investigatory staff will receive pre-service and in-service training on                        x
 (94)      appropriate investigations policies and procedures, the investigations tracking process, investigatory
           interviewing techniques, and confidentiality requirements.
 35.f.     CCDOC [OPR] shall provide all investigators who will be assigned to conduct investigations of use of                             x
 (95)      force incidents with specialized training in investigating use of force incidents and allegations.
 35.g.     CCDOC [OPR] shall ensure that the results of each internal investigation shall be documented in an                               x
 (96)      investigation report. CCDOC administration shall review the investigation reports, along with the
           underlying documentation, and take appropriate action. CCDOC shall implement appropriate
           remedies based upon the results of internal investigations.

  36.                                                         Inmate Disciplinary Process
 36.a.     CCDOC shall maintain policies, procedures, and practices for a formal disciplinary process, including                            x
 (97)      prompt issuance of written disciplinary citations, administrative review and disciplinary reports for
           alleged minor rule violations, and due process for alleged major rules violations, in accordance with


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           generally accepted correctional standards.
 36.b.     CCDOC shall ensure that inmate disciplinary hearings are conducted in a reasonably private and                                  x
 (98)      secure setting.
 36.c.     CCDOC shall ensure that all inmates placed in lock down status are provided with appropriate due                               x
 (99)      process that has been developed and implemented in policies and procedures, in accordance with
           generally accepted correctional standards.

           In an emergency, the Executive Director of CCDOC may order a lock down of entire areas of the
           Facility in order to control the situation and address serious security concerns. In such circumstances,
           it is not necessary to provide disciplinary hearings to each inmate affected by the lock down.
           However, lock downs of this nature shall be limited to only the time and scope necessary to address
           the emergency.

           For the purposes of this Agreed Order, a “lock down” shall not include the routine instances in which
           inmates are confined to their cells, including periods of count, over night, shift change, movement,
           and routine contraband sweeps.
36.d.      CCDOC shall ensure that the disciplinary board’s written record accurately reflects the testimony and                                         x
(100)      discussion from the disciplinary hearing, including any recommendations from a mental health
           professional regarding the extent to which disciplinary charges are related to an inmate’s serious
           mental illness or suggestions for minimizing the deleterious effect of disciplinary measure on the mental
           health status of the inmate. * Coordinate with Dr. Metzner
36.e.      CCDOC shall alert Cermak when inmates are placed in disciplinary segregation or protective                                     x
(101)      custody. * Coordinate with Dr. Shansky
 36.f.     CCDOC shall permit a Cermak Qualified Mental Health Staff member to serve on the disciplinary                                                 x
(102)      board.
           * Coordinate with Dr. Metzner
 37.                                                                 Classification
37.a.      CCDOC shall maintain policies and procedures for an appropriate, objective classification system                               x
(104)      that separates inmates in housing units by classification levels in order to protect inmates from
           unreasonable risk of harm. The system shall include consideration of an inmate’s security level,
           severity of current charge, types of prior commitments, suicide risk, history of escape attempts, history
           of violence, and special needs. CCDOC shall use best efforts to anticipate periods of unusual intake
           volume and schedule sufficient classification staff to timely classify inmates.


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 37.b.     CCDOC shall ensure that classification staff have sufficient access to current information regarding                          x
 (109)     cell availability on each division.
 37.c.     CCDOC shall include information on each inmate’s assignment to the Special Incarceration Unit                  x
 (110)     “level system” at the Facility in the new Jail Management System, starting with the date the new Jail
           Management System becomes operational.
37.d.      CCDOC shall provide training and access to all correctional officer supervisors on the full capabilities                      x
(111)      of the new Jail Management System’s classification and inmate tracking system (or any replacement
           system).
37.e.      CCDOC shall provide ongoing internal and external review and validation of the inmate classification                                         x
(112)      system to ensure its reliability and objectivity.
 38.                                                         Inmate Grievance Procedure
38.a.      CCDOC shall maintain policies and procedures to ensure inmates have access to an adequate                                     x
(113)      grievance process and to ensure that grievances may be accessed and filed confidentially, without
           requiring the intervention of a correctional officer, in accordance with generally accepted
           correctional standards. These policies and procedures should be applicable and standardized
           across all the Facility divisions.
38.b.      CCDOC shall ensure that the grievances receive appropriate follow-up, including informing the                                 x
(115)      grievant of the outcome, providing a timely written response, and tracking implementation of
           resolutions.
38.c.      CCDOC shall ensure that grievance forms are available on all units and are available in Spanish.                              x
(116)      CCDOC shall ensure that there is adequate opportunity for illiterate inmates and inmates who have
           physical or cognitive disabilities to access the grievance system.
38.d.      CCDOC shall ensure that inmate grievances are screened for allegations of staff misconduct and, if                                           x
(117)      the incident or allegation meets established criteria, are referred for investigation. A member of the
           management staff shall review the grievance tracking system regularly in order to identify areas of
           concern.
 39.                                                              Access to Information
39.a.      CCDOC shall ensure that newly admitted inmates receive information, through an inmate handbook                                x
(118)      or orientation video, regarding the following areas: facility rules and regulations; how to report
           misconduct; how to report sexual abuse or assault; the process for accessing medical and mental
           health care; emergency procedures; rules for sending and receiving mail; the visitation process;
           facility schedule; the disciplinary process; and how to seek redress of grievances.



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 39.b.    CCDOC shall ensure that materials on facility rules and services are available for non-literate and non-                       x
 (120)    English speaking inmates.
  40.     CCDOC shall provide training and supervision to all correctional officers and supervisors sufficient to                        x
 (121)    implement the provisions of this Agreed Order.
  41.    Inter-Agency Agreement                                                                                                                         x
 (122)
          a.      CCDOC shall enter into a written Inter-Agency Agreement with Cermak that delineates the
                  mutual responsibilities of each party, relative to the provision of health care to inmates at the
                  Facility. The Inter-Agency Agreement shall be finalized within 60 days of the effective date of
                  this Agreed Order.

         b.      Cermak shall enter into a written Inter-Agency Agreement with CCDOC that delineates the
                 mutual responsibilities of each party, relative to the provision of health care to inmates at the
                 Facility. The Inter-Agency Agreement shall be finalized within 60 days of the effective date of
                 this Agreed Order.

 69.     CCDOC shall ensure that security staff posts will be equipped, as appropriate, with readily available,                                         x
(123)    safely secured, suicide cut-down tools. *Coordinate with Dr. Metzner


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PROVISION

31. Use of Force

a.     CCDOC shall maintain comprehensive and contemporary policies and
       procedures, in accordance with generally accepted correctional
       standards, surrounding the use of force and with particular emphasis
       regarding permissible and impermissible uses of force.

Compliance Status: Partial Compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Draft policy/procedure prepared and in final stages of review to guide CCSO
office-wide operations. Any necessary changes/refinement to CCDOC policies
will begin when office-wide policy effective. Revised draft policies regarding
batons, OC spray, and conducted energy device (CED) (AKA “Taser”) are also
being finalized.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Draft policies and procedures are nearing completion. I have reviewed and
provided comments/recommendations on the four drafts noted above.

Monitor’s Recommendations:

Continue work to finalize policies. Revise related/corresponding CCDOC’s
directives as appropriate.




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PROVISION

31. Use of Force

b.     CCDOC shall maintain use of force policies and pre-service and in-service
training programs for correctional officers and supervisors that address the
following impermissible uses of force:
1.     use of force as a response to verbal insults or inmate threats where there is
       no immediate threat to the safety of the institution, inmates, or staff;
2.     use of force as a response to inmates’ failure to follow instructions where
       there is no immediate threat to the safety of the institution, inmates, or
       staff, unless CCDOC has attempted a hierarchy of nonphysical
       alternatives that are documented;
3.     use of force as punishment or retaliation;
4.     use of force involving striking, hitting, or punching a restrained and non-
       combative inmate;
5.     use of force against an inmate after the inmate has ceased to offer
       resistance and is under control;
6.     use of choke holds on an inmate, unless lethal force is justified; and
7.     use of inappropriate or excessive force.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Training lesson plans need updating when revised CCSO office-wide use of
force policy completed (and related policies, see 31.a); inclusion of instructional
input (e.g. exactly what is instructed) is needed. Although policy is not yet
finalized, defendants making efforts to ensure compliance with this section of
the order.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Training Institute personnel are updating lesson plans to revise training based on
updated policies and procedures.

Monitor’s Recommendations:

Continue work to finalize policies and revise lesson plans. Provide lesson plans
for my review before finalizing.




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PROVISION

31. Use of Force

c.    CCDOC shall maintain a policy to ensure that staff adequately and
promptly report all uses of force, in accordance with generally accepted
correctional standards.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants are revising CCSO-wide use of force policies. Although policy is not
yet finalized, defendants are making efforts to ensure compliance with this
section of the order. The CCDOC corresponding general order on use of force
must be updated after this agency-wide policy is finalized.

Data provided by CCDOC:
                              2008                2009        2010 (YTD Through
                                                            5/31/10)/(Annualized)
Serious Incidents              711                1,141          707 (1,697)
Fights                        1,382               1,317          534 (1,282)
Use of Force                   376                 464            184 (442)
Response to                    240                 202             78 (187)
Resistance

Data provided by OPR was provided in three reports; Open OPR Federal Lawsuit
Allegations – some of which are use of force; Investigative Branch Monthly Case
Statistics; and Open OPR Excessive Force Allegations. The Federal Lawsuit
Allegation list points to the issue of CCSO only becoming aware of some
allegations of use of force when a lawsuit is filed. Reviewing these reports points
to a need to ensure that there is a database capable (and designated by
policy) of reconciling CCDOC and OPR reports in some consolidated format (as
well as the lawsuit report, inmate grievances and inmate disciplinary actions).
Draft use of force policy requires the immediate notification of on-and-off duty
officer involves uses of force (IX. A.1.c.d.)

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 31.a., above.




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There are provisions in the draft use of force policy requiring notification by
officers when force is used. The concern I have extends to how the data is
captured, reported, and analyzed, particularly in the jail setting.
In order to ensure that all uses of force are reported and acted upon in
accordance with policy, there needs to be a means of capturing and verifying
the data regarding reports made to the superintendents and reports reaching
OPR. [See above: numbers of CCDOC do not correspond to the data in IAPro
at this time.] As not all uses of forces are categorized as “excessive” [those that
will be investigated by ORP] there needs to be a database and leadership
oversight to ensure all uses of force accounted for. At this time, OPR records in
the IAPRO database all use of force reports that reach them, even those not
categorized as excessive [thus triggering an investigation.] During the tour of
the week of August 16th, in inmate interviews (female, mental health unit) the
inmates reported 4 allegations of use of force. To date, one has been identified
(Inmate TS). Recognizing the mental health concerns for the population, it is
possible that there is a credibility issue.

It appears that the agency is committed to assuring accountability, but the
logistics and definitions needs to be addressed, along with leadership oversight
to ensure all data is accounted for.

Monitor’s Recommendations:

See 31.a., above.

As discussed on August 17th, OPR and CCDOC are finalizing policy to ensure that
all uses of force are recorded, tracked, and analyzed. Missing reports will be less
likely to escape identification, and trend data can be maintained and
reviewed.

See also recommendations in 34.e., 38.b., regarding capturing and
documenting information from incident reports, inmate grievance reports, and
inmate disciplinary reports. See also 31.q. regarding oral reports from inmates.
These should be addressed in the same policy directive(s), general orders.
Tracking the sources of the information would be helpful to documenting
compliance with this provision.




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PROVISION

31. Use of Force

d.       CCDOC shall require that use of force reports:

1.       Be written in specific terms in order to capture the details of the incident;
2.       Contain an accurate account of the events leading to the use of force
         incident;
3.       Include a description of the instrument(s) of restraint or control, if any, and
         the manner in which it was used;
4.       Note whether an inmate disciplinary report was completed in connection
         with the incident that prompted the use of force;
5.       Describe the nature and extent of apparent and reported injuries
         sustained both by the inmate and staff member;
6.       Contain the date and time medical attention was actually provided;
7.       Describe, in detailed, factual terms, the type and amount of force used as
         well as the precise actions taken in a particular incident; and
8.       Note whether a use of force was videotaped. If the use of force is not
         videotaped, the reporting correctional officer and supervisor will provide
         an explanation as to why it was not videotaped.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCSO’s draft use of force policy, IX., b., 4 a – h specifically includes the elements
noted above.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

As soon as this policy is implemented, the defendants will be in compliance with
this provision. Follow-up review of the incident reports will be secondary proof of
compliance.

Monitor’s Recommendations:

None at this time.




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PROVISION

31. Use of Force

e.      CCDOC shall continue to require prompt review by the shift commander
of all use of force reports. The shift commander’s review of use of force reports
shall include review for completeness and procedural errors, as well as review of
the substantive content. If the use of force report does not comply with
provision 31.d. of this Agreed Order, the shift commander shall return it to the
reporting officer for revision and resubmission until it is compliant. If the shift
commander believes a use of force may have been inappropriate or excessive,
he or she shall immediately refer the incident for investigation.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 31.a., above. Although policy is not yet finalized, defendants are making
efforts to ensure compliance with this section of the order, pending completion
of final policy. The CCDOC corresponding general order on use of force must be
updated/eliminated after this agency-wide policy is finalized.

Section IX. B., 4 of the draft use of force office-wide directive states, in part “If
the Response to Resistance/Use of Force Forms does not comply with the
provisions of this order the supervisor shall return it to the reporting officer for
revision and resubmission until it is compliant. If the supervisor believes a use of
force may have been inappropriate or excessive, he shall immediately refer the
incident to the watch commander.” The draft enumerates eight minimum
requirements for the use of force report.

I could not locate a CCDOC general order on the specific title of report writing
in the table of contents. I reviewed the Training Institute’s course syllabus
entitled “The Fundamentals of Report Writing” dated January 2010, but the
lesson plan did not reference a CCSO or CCDOC policy/procedure/directive on
which the lesson plan was based. This was a pre-service lesson plan so it did not
address supervisory responsibilities as described in this provision.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The specific provisions are addressed in the use of force report draft. It would be
helpful to have these same conditions apply to all incident reports, and be
contained in a CCDOC or CCSO directive entitled “report writing”. As incident
reports other than those titled “use of force” may have information related to

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allegations of use of force contained in them, the same requirement regarding
the accuracy of reports is necessary.

Monitor’s Recommendations:

Complete the office-wide use of for policy (and related policies, see 31.a.).
Consider developing (or updating if such a directive exists) a written directive
entitled “report writing”. Ensure that all lesson plans at the Training Institute cite
the relevant CCSO or CCDOC policies/directives. Ensure that IMACS input and
directions are consistent with the provision (Chapter 12). The CCDOC
corresponding general order on use of force must be updated/eliminated after
this agency-wide policy is finalized.




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31. Use of Force

f.    CCDOC shall ensure that senior management review of uses of force
includes:

1.       A timely review of medical documentation of inmate injuries, if any is
         submitted, as provided by Qualified Medical Staff, including
         documentation surrounding the initial medical encounter, an anatomical
         drawing that depicts the areas of sustained injury, and information
         regarding any further medical care; coordinate with Dr. Shansky
2.       The inmate disciplinary report, if any, associated with the use of force; and
3.       The incident report, if any, associated with the use of force.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Use of force investigations are reviewed by the CCDOC senior management via
the command channel reviews initiated by OPR. The incident report would be
part of the investigative file.
Per Dr. Hart, there is a draft policy under discussion by which Cermak will provide
relevant medical encounter information to OPR including redacting information
not directly pertinent to the alleged use of force. Should OPR wish to see the
entire medical file, there are means in place to do that.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Awaiting finalization of policy; additional assessment after policy implemented.
The review of the associated inmate disciplinary report, is undefined in policy.

Monitor’s Recommendations:

Continue with finalizing and implementing policies. Convene an inter-
disciplinary committee to address these specific policy/operational issues
needing coordination between Cermak and OPR/CCDOC if any arise out of the
policy currently under development. OPR may need to update/rewrite the
relevant section(s) of the OPR standard operating procedures so that this matter
can be resolved via written policy. Ensure that policy is revised to ensure that
any inmate disciplinary report is evaluated when associated with a use of force
allegation. See also 34.f.



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g.    CCDOC shall establish criteria that trigger referral for inappropriate or
excessive use of force investigations, including but not limited to, documented
or known injuries that are extensive or serious; injuries involving fractures or head
trauma; injuries of a suspicious nature (including black eyes, injuries to the
mouth, injuries to the genitals, etc.); and injuries that require treatment at outside
hospitals.

Compliance Status:          Non-compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

The Office of Professional Responsibility (OPR) is empowered to investigate
allegations of excessive force, and other allegations of staff misconduct. I was
unable to locate in the draft use of force policy, in CCDOC written directives, or
in OPR’s SOPs any criteria that trigger investigations.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

CCSO is very sensitive and responsive to use of force allegations. I am unaware
of any criteria in policy (and thus in training) that address these provisions. It is
necessary to coordinate the provisions of this paragraph with Cermak – so they
may provide direction to their first responders and treating staff. Cermak must
also be able to convey this information to the treating/admitting hospital. While
developing these “triggers” Cermak and treating hospitals should also pay
attention to signs and symptoms of sexual abuse/assault.

Monitor’s Recommendations:

Develop criteria to guide both internal CCDOC/Cermak referrals as well as OPR
investigations. Ensure that treating hospitals are aware of criteria. Considering
including in the criteria the signs and symptoms of sexual abuse/assault.




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h.     When CCDOC review of use of force reports, and supporting records if
applicable, reveals that reports of a use of force are materially inconsistent,
conflicting, or suspicious, CCDOC shall refer that use of force incident for internal
investigation.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Draft use of force policy, section V. Definitions, W. Sheriff’s Office Supervisory
Review – “A review of all reports pertaining to a Response to Resistance/Use of
Force Report along with the underlying documentation. The form ensures
proper review of the incident by the chain of command and that department
policy is followed or any inconsistencies with this policy is documented and
reported to the Office of Professional Review. All Response to Resistance/Use of
Force Supervisory Review required four levels; e.g., immediate supervisor, watch
commander, exempt member and department head. “

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The policy will be in place when the draft order is issued.

Monitor’s Recommendations:

It would be beneficial to code and track investigations that result from
employees who submit reports which are materially inconsistent, conflicting, or
suspicious. This information could be used to refine policy, training and
supervision.




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31. Use of Force

i.    CCDOC shall develop and implement a system to track all incidents of
use of force that, at a minimum, includes the following information:

1.     a tracking number;
2.     the inmate(s) name;
3.     housing assignment;
4.     date;
5.     type of incident;
6.     injuries (if applicable);
7.     medical care provided (if applicable);
8.     staff involved;
9.     reviewing supervisor;
10.    external reviews and results (if applicable);
11.    remedy taken (if appropriate); and
12.    administrative sign-off.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

OPR has an electronic database (IAPro) that can track all employee
misconduct reporting including use of force. This system can manipulate the
data to produce management report. OPR SOP 102.5. F. requires all use of
force incidents to be entered into the IAPro database and tracked for early
warning and intervention purposes. CCDOC’s IMACS incident reporting module
will be implemented by the end of the year.

See also status, assessment and recommendation in 31.c., regarding a unified
database tracking all uses of force.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The IAPro system was viewed but I did not determine if all 12 of the elements
noted above are recorded for each use of force incident. See also 31.c The
IMACS incident reporting system needs to be guided by policy regarding use of
force incident reporting by employees. How those reach OPR and which entity
is responsible for the singe database regarding use of force reports/excessive
use of force allegations. There needs to also be agreement on what
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administrative sign-off is necessary, CCDOC Executive Director, OPR Director, or
both.

Monitor’s Recommendations:

Finalize and complete use of force policy. See also 31.c. Determine via policy
the single database for use of force reports/allegations of excessive use of force.
Ensure that either the IAPRO database or IMACS database tracks the data
elements noted in this provision.




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j.     CCDOC shall ensure that, promptly following a use of force incident,
video or photographs are taken of any and all reported or apparent injuries
sustained by inmates and staff. The video or photographs will be maintained
and will be included in the investigation package, if applicable. Coordinate
with Dr. Shansky.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Draft use of force policy requires that when a supervisor arrives at the scene of a
use of force, he/she will ensure that photographing and video recording takes
place of all subject(s) and officer(s) involved, regardless if injured. (IX.B.2.h.)

See also 31.f.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 31.f.

I believe the intent exists for the CCDOC to photograph or digitally record the
aftermaths of use of force incidents, but unless it is a planned use of force,
employees may not have ready access to the equipment needed.

Monitor’s Recommendations:

See 31. f.

CCDOC should consider a general order/directive that directs jail supervisory
personnel to the location of equipment that can be used to photograph and/or
digitally record the aftermath of uses of force (outside of a planned use of force
incident). The CCDOC may wish to purchase and locate inexpensive cameras
in the watch commander/shift supervisors’ offices for such purposes, as well as
provide internal controls to ensure the equipment is in working order at all times.




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PROVISION

31. Use of Force

k.     CCDOC shall establish an “early warning system” that will document and
track correctional officers who are involved in use of force incidents and any
complaints related to the inappropriate or excessive use of force, in order to
alert CCDOC administration to any potential need for retraining, discipline,
problematic policies, or supervision lapses. Appropriate CCDOC leadership,
supervisors, and investigative staff shall have access to this information and
monitor the occurrences. CCDOC senior management shall use information
from the early warning system to improve quality management practices,
identify patterns and trends, and take necessary corrective action both on an
individual and systemic level.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

OPR’s database tracks uses of force by employee for the purposes of early
warning (OPR SOP 102.5. F.). Partial compliance noted until use of force policy
finalized and policies regarding the early warning system finalized. The draft
revision to the use of force policy assigns the responsibility for maintaining the
early warning system to OPR [IX. E. 5.h.]. There is no policy regarding the early
warning system or employee remediation.

The Sheriff’s weekly accountability meeting provides one means for improve
quality management practices, identify patterns, etc. This process is not now
guided by policy.

OPR SOP 103.14, Procedural Reform Recommendations, requires that
investigators and unit directors review each completed OPR investigation to
assess if there are systemic weaknesses identified. If any such elements are
identified, they are transmitted to the Executive Director.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

IAPro database capable of tracking employees’ uses of force [see 31.c. for
single point of data regarding uses of force, including those not categorized as
“excessive”]. Early warning system specifications remain under development.
Criteria for when counseling and/or remediation are triggered and how
remediation accomplished are under development.



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There will need to be coordination between OPR and CCDOC to exchange this
information as well as set up a system to track the outcomes of
counseling/remediation. There is concern that the union may see
counseling/remediation as discipline, so negotiations may be needed. The
form of the remediation – whether re-training, counseling, etc. has yet to be
determined. If re-training is an option, lesson plans and measures of knowledge
gained will also need to be developed.

See also 31.c. about concerns of having a single database to contain all
relevant information.

The CCSO and/or CCDOC need to establish policy regarding the quality
management strategies – see 31.n.

Monitor’s Recommendations:

Policy is required to guide the early warning system and employee remediation
as a result of any intervention. Continue development of early warning system;
develop criteria to guide when interventions are needed, develop database to
track the employees for whom intervention is provided, view outcomes of
interventions. If re-training is a remediation/intervention option, develop lesson
plans, measures of knowledge gained, etc. Work with the unions as necessary
over the matter of whether intervention/remediation is counseling or discipline.

See also 31.n.




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PROVISION

31. Use of Force

l.    CCDOC shall ensure that a supervisor is present during all pre-planned
uses of force, such as cell extractions.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Draft use of force procedures (VII. M.) provides that a supervisor will be assigned
and respond to a planned use of force incident.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Review of incident and investigative reports when policy is completed will
determine substantial compliance.

I reviewed two videos of planned cell extractions. My opinion regarding those
two cell extractions is that they were carried out professionally, and
demonstrated appropriate use of force. I did, however, make
recommendations and provided a resource of another agency’s planned use
of force recording policy.

Monitor’s Recommendations:

I recommended to CCDOC changes to the policy governing planned cell
extractions including: having all extraction team members’ and supervising
officials, introduce themselves (seeing faces) - recorded on the digital video in
their own voices, including their assignments once the cell is entered (e.g. Office
Smith, right arm; Officer Jones, left arm); train /orient the camera operator to
move in closer to record the event more thoroughly; as resources permit, have
medical personnel standing by, and introduced on the video; record any
negotiation with the inmate(s) prior to cell extractions with officers, mental
health workers, medical workers, and/or CRWs; to the extent possible, when the
inmate is secured, allow the inmate to walk under his/her own power out of the
housing area; assign the supervising officer the responsibility of talking to the
inmate as he/she is moved so that the recording demonstrates the inmates’
ability to talk, breathe, and exhibits medical or no medical distress; if OC or CED
is used, ensure that medical personnel are standing by and consider showing
the decontamination of the inmate from OC; and continue to recording until
the medical evaluation begins. CCDOC should consider physically attaching a

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small instruction laminated card to the camera to assist those who may not be
familiar with operation. CCDOC should ensure that the superintendent of the
facility promptly review the recording (not delaying transmission to OPR) to
ensure that the mechanical/logistics/quality control/policy requirements of the
procedures are assessed, and any remedial action(s) taken immediately (e.g.
instruction to camera user, introduction of team members). The superintendent
should be required by policy to provide a memorandum to the Executive
Director which includes the superintendent’s assessment of the
mechanics/policy compliance with the planned use for force; not their
assessment of the appropriateness of the use of force.

Complete and implement use of force policy. Refine procedures for use of
video in the CCDOC written directive governing planned uses of force and use
of video.




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PROVISION

31. Use of Force

m.    Where there is evidence of staff misconduct related to inappropriate or
unnecessary use of force against inmates, CCDOC shall initiate personnel
actions and seek disciplinary action appropriately for any correctional officer
found to have:

1.       engaged in inappropriate or excessive use of force;
2.       failed to report or report accurately the use of force;
3.       retaliated against an inmate or other staff member for reporting an
         inappropriate or excessive use of force; or
4.       interfered or failed to cooperate with an internal investigation regarding
         use of force in a manner inconsistent with the staff member’s statutory or
         contractual rights.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

OPR SOP 102.5 F. (6) outlines the procedures for referral/recommendation of
disciplinary actions as a result of completed investigations. The CCSO policy
directives for the provisions noted above 1. and 2. are: draft use of force
directive V. G. H., V. L. Draft use of force policy, section IX, D.4.c.d provides that:
“Where there is evidence of staff misconduct related to inappropriate or
unnecessary use of force against subjects, Sheriff’s Office department exempt
members in coordination with OPR may initiate personnel actions, e.g.,
reassignment under investigation, temporary transfer and/or disciplinary action
by notifying and consulting with OPR. In addition a separate To/From
Memorandum must be submitted to the Executive Director of OPR for any
officer found to have: . . . c.   retaliated against a subject or other staff
member for reporting the use of inappropriate or excessive force; or d.
interfered or failed to cooperate with an internal investigation regarding use of
force in a manner inconsistent with the staff member’s statutory or contractual
rights.”

Also see 35.a. Data provided by CCDOC (Duran Term/With Cause) show that
of from 2005 – through 2009 58 CCDOC employees were terminated, two for
excessive force.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.



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The draft policy is responsive to these issues.

Regarding disciplinary actions and terminations, the Sheriff is paying particular
attention to the Merit Board’s deliberations/actions regarding discipline in use of
force cases, hoping to educate the Merit Board to the seriousness of excessive
force, and correspondingly documenting that employees are subject to
discipline for the above enumerated actions. The Merit Board process can take
up to a year, depending on the case’s complexity, plus any appeals by the
employee or the Sheriff to the courts. Data describing these outcomes for
serious allegations can be tracked in IAPro.

Monitor’s Recommendations:

Complete use of force directive.




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PROVISION

31. Use of Force

n.      Where there is evidence of staff misconduct related to inappropriate or
unnecessary use of force against inmates, CCDOC shall consider, develop, and
initiate systemic remedies as appropriate.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

The draft use of force policy, provides in part: IX, E. 5.h, “The CCSO shall use
information from the early warning system to improve quality management
practices, identify patterns and trends, and take necessary corrective action
both on an individual and systematic level.” The Sheriff’s weekly accountability
meetings also serve this purpose, but these meetings are not guided by written
policy at this time.

The draft use of force policy requires that in Section XI. C. 6. The Training
Division’s Executive Director to establish a committee that will review quarterly all
uses of force and provide recommendations based on the evaluations, results,
and outcomes to update policy, procedures or training.

See also 31.k.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The language in the draft use of force policy is adequate to meet the provisions,
above, but the CCSO/CCDOC should prepare directives/guidance that
describes how this will, practically, occur, along with how this is documented
(e.g., Sheriff’s weekly accountability meeting, memos, changes in written
directives, training updates). The Sheriff’s accountability meetings are an
excellent forum for surfacing issues, but as the meetings mature, it may be
helpful to have a brief written directive to guide the meetings, set expectations,
and define how information is used in the furtherance of this provision.

Monitor’s Recommendations:

Complete draft use of force policy. Develop CCDOC procedures for
implementation of policy that includes how these systemic remedies, if any, are
documented.
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Develop written directive to guide Sheriff’s accountability meetings. Identify
those issues that have been addressed as improvements to issues identified as
‘systemic’ (for example, the meetings currently underway between CCDOC
and Cermak). See also 35.g.

Consider amending Section XI. C. 6. Of the draft use of force policy to specify to
whom the recommendations are provided.




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PROVISION

31. Use of Force

o.    CCDOC shall maintain accountability policies and procedures for the
effective and accurate maintenance, inventory, and assignment of chemical
and other security equipment, in accordance with generally accepted
correctional standards.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants are working to complete relevant policies/procedures, in several
cases cancelling CCDOC policies and implementing CCSO agency wide
policies.

•       9.15 Control of Firearms and Other Security Equipment (4/01/84)
•       9.15A Use and Control of Chemical Agents (7/1/96)
•       9.17 The Use of Oleoresin Capsicum (O.C.) Spray/Gel (11/7/08) – Draft
        order CCSO agency-wide
•       9.33 Canine (K-9) Unit (7/27/07)
•       9.38 Use of an Electronic Restraining Device (11/4/08)
•       Response to Resistance/Use of Force (draft) agency-wide policy
•       Use of Baton (draft) CCSO agency-wide policy
•       Use of OC Spray (draft) CCSO agency-wide policy
•       Deployment of Conducted Energy Devices (CED) (draft) CCSO agency-
        wide policy (AKA as Taser)

Those drafts don’t address in sufficient detail the maintenance, inventory,
assignment of batons, electronic restraining devices, OC Spray or CEDs. It may
be the intention to provide those specifics in Departmental level written
directives, but that needs to be defined by CCDOC.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Defendants working to complete relevant policies/procedures. No assessment
was made of the maintenance, inventory, assignment of security
equipment/chemicals due to this policy transition period




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Monitor’s Recommendations:

Continue working to complete draft and implement procedures.
For those directives that will remain CCDOC directives, ensure that the provisions
of this section are met. Ensure that these are forms (or in IMACS) that can
account for missing equipment, equipment needing repair, inventories, controls
on issuance, etc.




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PROVISION

31. Use of Force

p.    CCDOC shall continue to conduct use of force training in accordance
with generally accepted correctional standards, including:

1.       CCDOC shall maintain an effective and comprehensive use of force
         training program.
2.       CCDOC shall continue to ensure that correctional officers receive
         adequate training in CCDOC’s use of force policies and procedures,
         including de-escalation and defensive tactics relating to use of force.
3.       CCDOC shall continue to ensure that correctional officers receive pre-
         service and in-service training on reporting use of force and completing
         use of force reports.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants are providing pre-service and in-service training regarding use of
force. The lesson plans will be modified based upon the updated use of force
policy, including de-escalation and defensive tactics, and reporting concerning
use of force. Defendants provided a lesson plan for the use of force training
dated September 1, 2010.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Defendants are providing training. The lesson plans need to be reviewed
following revision to ensure that they cover the specific
language/content/intent of the consent agreement. Although I did not have
sufficient time to review the draft training lesson plan recently provided, I do not
think it has sufficient detail for this topic.

Lesson plans are maintained at the Training Institute.

I was unable to evaluate how the Training Institute tracks employee training to
ensure that the employees are provided training on the schedule set by the
CCSO.




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Monitor’s Recommendations:

Continue to update lesson plans based upon completed updated policy on use
of force.

I will further review the training and lesson plans, as well as observe training when
the updated policy is completed. I recommend further refining the lesson plan
draft (9/1/2010) to provide more specificity to ensure that all those who
participate in the training hear, to the extent possible, the same information. I
will evaluate how the CCSO maintains information on the training of employees
to meet the CCSO’s requirements for pre-service and in-service training hours.




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PROVISION

31. Use of Force

q.     CCDOC shall provide a process for inmates to report allegations of the
inappropriate or excessive use of force orally to any CCDOC staff member; said
staff member shall give the inmate the opportunity to reduce his or her report to
writing through a grievance or complaint form without discouragement.

Compliance Status:          Partial Compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

The draft use of force order provides direction in section IV. J. and K. Guidelines,
that employees must report officers who they suspect of using excessive force.
This policy does not address CDOC employees taking an oral report from an
inmate. There is a grievance process (General Order 14.5 Detainee Grievance
Procedure (2/21/1997) in place that provides a means for inmates to provide
allegations of use of force/excessive force. CCDOC detainee grievance
general order does not address the ability of inmates to provide their grievance
provided orally.

The defendants provided to me on September 15, 2010, an amended CCDOC
General Order (9.1B), dated 9/8/2010 (unsigned), which provides that “All
allegations of inappropriate or excessive use of force reported orally to any
CCDOC staff member by an inmate shall be documented on an Incident
Report and reported to the Incident Tracking Line receiving a tracking number.
Staff members shall give the inmate the opportunity to submit his/her allegations
in writing through a grievance or complaint form without discouragement.”
Accompanying this amendment to the general order is a memo from the
Executive Director, Office of Policy and Accountability, regarding a CCDOC
Inmate Hotline Proposal. The telephone is to be monitored M-F, 7:00 a.m. to 3:00
p.m. by CRWs. The hotline is to be located in the Program Services Office.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

While I appreciate the CCDOC’s responsiveness to this provision, I don’t believe
that the process proposed is well thought-out. For example, how will inmates
get to the Program Service office to call the number; and if they get to the
office, why not just talk to the CRW who would answer the phone if they called?
Many corrections organizations use toll-free numbers for inmates to use to report
allegations of sexual assault/misconduct, and then receive other misconduct
reports via the same telephones. In this model, the telephone line is recorded,

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and an investigator (in most organizations) is assigned to listen to the recorded
line daily, and complete the paperwork required by what they hear. Because
these ‘800’ numbers are directly available from the telephones that the inmates
generally use; the inmates remain anonymous – as there is little probability that
someone will see or overhear the conversation. This strategy also provides a
single point of accountability for logging inmate allegations/complaints.
Organizations which use “800” numbers report that they do not experience an
overwhelming response, outstripping resources. They do find that friends/family
of inmates use the line to report allegations, as well as employees using the line
to report misconduct of their peers.

I urge CCDOC to rethink this provision to ensure that the process is more
universally available, that the line is recorded, and that an experienced
investigator is assigned to review the calls each day (including weekends and
holidays). I don’t believe the process proposed in the Memo of September 7th
will achieve what the CCDOC is seeking; and in fact, may be
counterproductive.

Training lesson plans should also include this requirement. See also 38.a., b., c.,
d. regarding inmate Grievance Procedures. Directives should also cover CRWs
who have responsibility in the inmate grievance process. Training includes how
officers access services for inmates with LEP and who have disabilities (or
appear to have disabilities which might not be noted in the inmate’s record).

I’m noting partial compliance, reluctantly, based on the production of the
amendment to CCDOC general order, albeit, unsigned. More work is required.

Monitor’s Recommendations:

CCDOC needs to have a process in place, via policy/practice that identifies
inmates who may need assistance in all phases of their incarceration, including
developmental disabilities, limited English proficiency (LEP), limited sight
(blindness), deaf or hard-of-hearing, mobility impairment. For example, finding a
deaf female inmate that the Superintend appeared not to know was housed,
was troubling. This should be assessed and noted in the inmate’s record during
the initial classification process (although that current process may not identify
these needs given the rush to complete the process and move inmates to
housing), as well as having their files updated during the emerging re-
classification process. The challenge for jails is that a disability or LEP is NOT a
classification, and should not be the sole determination of the inmates’ housing
(in other words, there is no classification status ‘disabled’ or ‘LEP’ ). LEP or
disabled inmates have a classification, and should be housed with like classified
inmates, unless there is an overriding, objective reason, consistent with policy, to
change that housing to provide for the safety of the inmate, other inmates,
and/or employees. At this time, it appears that identifying and assisting disabled
or LEP inmates are falling through the cracks, and addressing these matters are

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not assigned to a specific person/post. The identification of inmates in these
categories also requires collaboration between CCDOC and Cermak as
Cermak may identify inmates in these categories who were not identified in
CCDOC’s initial classification screening process.

CCDOC policy (and Cermak) policy needs to comply with ADA requirements for
TDD and other aid devices (prosthesis, glasses, etc.). See also
http://www.ada.gov/lawenfmodpolicy.pdf regarding hearing impaired
arrestees. The Disability Rights Section of the U. S. Civil Rights Division has
guidance on their web site.

When an inmate is identified as potentially needing assistance to access
programs, medical care, mental health care, grievances, disciplinary processes,
or any other phase of incarceration, the CRWs should be invested with the
authority to follow-up with those specific inmates periodically, at least monthly,
ideally, weekly. Officers working in housing units should be proactive in seeking
help for inmates they observe as having issues assessing services, help, etc.
Pointing again to the example of the deaf inmate who claimed that she had
not had TDD for six months, the CWR, officer, and management staff in that
facility should have been aware she was housed, and obviously had special
needs. A series of checks and balances should seek to ensure that inmates with
disabilities are accommodated and assisted in filing grievances, and during
disciplinary proceedings (as well as accessing services and programs). Policy
should provide that sign language and other interpretation are provided to
eligible inmates to participate in programs for which they are otherwise eligible,
including access to the grievance system.

As noted above, an ‘800’ number accessible through the inmate telephone
system is one means of increased communication for all inmates who can use a
telephone.

Re-evaluate the process described in the September 7th Memo. Complete the
use of force policy; amend/update any CCDOC’s general order; amend the
grievance order to address this provision; update lesson plans. Develop a policy
guiding identifying that inmate allegations of use of force come via oral reports
to employees that are forwarded per policy. The directive should also address
how inmates with limited English proficiency, and disabilities submit grievances
based on the recommendations above. The inter-agency committee might be
a vehicle through which to surface the policy and operational issues surrounding
this provision and develop recommendations.




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r.    Following a use of force, when CCDOC staff transport an inmate to
receive medical care by Cermak, as necessary, the CCDOC staff member shall
inform the Cermak staff member that the inmate was involved in a use of force.
Coordinate with Dr. Shansky.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants completing revised use of force policy. Current practice appears to
be that inmates are transported to medical.
Per Dr. Hart, form is in draft and being finalized that will document exchange of
information that the inmate was involved in a use of force.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

There appears to be agreement that this provision is important and will be
addressed.

Monitor’s Recommendations:

Defendants complete policy; ensure compliance with language as noted in the
provision. Execute memo of agreement with Cermak for this, and related
policies.

Convene an inter-disciplinary committee to address these specific
policy/operational issues needing coordination between Cermak and CCDOC.

See also 31.f.




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31. Use of Force

s.     Cermak shall ensure that, when providing medical treatment or
assessment to an inmate following a use of force, Qualified Medical Staff
document the inmate’s injuries, if any, and any medical care provided. Cermak
shall provide CCDOC senior management with a brief summary documenting
the initial medical encounter following a use of force, including an anatomical
drawing that depicts the areas of sustained injury, if any, and information
regarding any further medical care. Coordinate with Dr. Shansky.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

I am unaware of the status of Cermak’s policies/procedures. It is evident that
Cermak is documenting inmate injuries. Information is provided by Cermak to
investigators at OPR, but it is not specifically guided by Cermak policy, nor could
I identify procedures within OPR’s SOP.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 31.f. There is agreement that Cermak will make a copy of the medical
encounter (redacted) to OPR when there is an allegation of excessive force that
OPR is investigating. Cermak and OPR policies need amendment.

Monitor’s Recommendations:

Convene a meeting of the parties and discuss the relevant policies/procedures
for each party. Agree to language; complete procedures; train. If it is
envisioned that CCS Police will get involved in allegations of excessive force,
procedures should cover their access to inmate medical records specific to the
incident.




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31. Use of Force Coordinate with Dr. Shansky.

t.     Cermak shall ensure that Qualified Medical Staff question, outside the
hearing of other inmates or correctional officers if appropriate, each inmate
who reports for medical care with an injury, regarding the cause of the injury. If,
in the course of the inmate’s medical encounter, a health care provider
suspects staff-on-inmate or inmate-on-inmate abuse, that health care provider
shall immediately:
1.     report the suspected abuse to the Executive Director of the Office of
       Professional Review or other appropriate CCDOC administrator; and
2.     adequately document the matter in the inmate’s medical record.

Compliance Status:          Non-compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

I am unaware of the status of Cermak’s policies/procedures. Checking with Dr.
Shansky, he was unaware as well. This provision may be in partial or substantial
compliance, but in the absence of this information, I am making this as non-
compliance.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 31.f. There is agreement that Cermak will make a copy of the medical
encounter (redacted) to OPR when there is an allegation of excessive force.
Cermak and OPR policies need amendment.

Monitor’s Recommendations:

Convene a meeting of the parties and discuss the relevant policies/procedures
for each party. Agree to language; complete procedures; train.
Convene an inter-disciplinary committee to address these specific
policy/operational issues needing coordination between Cermak and
CCDOC(and CCS Police, if necessary).

Ensure that data is captured to document when Cermak notifies OPR or the
Executive Director CCDOC and a use of force incident report has NOT been
made. Ensure that if this situation is documented, there are appropriate actions
by OPR and by the Executive Director CCDOC.




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PROVISION

32.    Safety and Security

a.   CCDOC shall maintain security and control-related policies, procedures,
and practices that will result in a reasonably safe and secure environment for all
inmates and staff, in accordance with generally accepted correctional
standards. Coordinate with Grenawitzke, Shansky, Metzner.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants are completing an updated policy and procedure manual both at
the Sheriff’s Office and departmental levels. There are a large number of
directives and practices which when developed in policy, provided in training,
and conducted in daily operational practice which result in the “reasonably
safe and secure environment” most likely envisioned by this provision. Data is
being maintained that identifies indicators of disorder that point to an unsafe
environment via the Sheriff’s weekly accountability meetings.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

To satisfy this provision there needs to a definition of what constitutes a
“reasonably safe and security environment for inmates and staff”. In addition to
written directives and employee training, factors that might be included are:
adequate supervision of inmates, routine inspections of environmental health
and sanitation, removal of hazards, prompt response by maintenance, repairs
using materials and methods which are consistent with security, routine meetings
between DFM, CCDOC and/or Cermak. The data reviewed in the Sheriff’s
weekly accountability meeting also provide the means to ensure that trends
and emerging issues are addressed.

Monitor’s Recommendations:

In fairness to the defendants, and to provide objective measures of compliance,
there needs to be consultation among the court monitors and CCDOC to
define what constitutes compliance with this specific provision in terms of written
directives, practices, training, outcomes. The totality of actions result in a safe
and secure environment for inmates and staff.




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PROVISION

32.    Safety and Security

b.   CCDOC shall maintain policies, procedures, and practices to ensure the
adequate supervision of inmate work areas and trustees, in accordance with
generally accepted correctional standards. Coordinate with Grenawitzke

Compliance Status: Non-compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants are drafting an office-wide policy/updating existing CCDOC
directive(s) on Sanitation Procedure and Inspection (24.11.1.0). The draft
requires training be provided to inmate sanitation workers, and that the required
sanitation plan address the equipment needed by inmate workers who perform
specific duties (e.g. lawn care, cleaning with chemicals). At this time, the draft
policy exists, but a sanitation plan does not. Because I saw inmate workers
being supervised by officers, I have assessed this as partial compliance at this
time.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Defendants taking specific actions to comply with this provision. Attention
needs to be paid to OSHA requirements to orient/train inmate workers, and
provide protective clothing, etc. Policy should require that this information is
captured/logged as proof that the CCDOC is following their policies (e.g.,
orientation checklists for inmate workers, list of protective clothing issued,
logged, tracked, repaired, etc., records of reported inmate worker injuries).
The defendants are preparing a sanitation plan that, when completed, should
address these provisions.

Monitor’s Recommendations:

Ensure 24.11.1.0 is consistent with the recommendations above. Ensure that the
to-be-drafted sanitation plan addresses the recommendations, above.      See
also any recommendations made by Harry Grenawitzke regarding inmate
worker safety. Awaiting the sanitation plan.




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PROVISION

32.    Safety and Security

c.      CCDOC shall ensure that security staff conduct appropriate rounds with
sufficient frequency to provide inmates with reasonable safety. Rounds shall be
conducted at least once every half hour, at irregular intervals, inside each
housing unit. In the alternative, CCDOC may provide direct supervision of
inmates by posting a correctional officer inside the day room area of a housing
unit to conduct constant surveillance. More frequent rounds shall be
conducted for special management inmates who require more intensive
supervision for security and safety reasons. All security rounds shall be
documented on forms or logs that do not contain pre-printed rounding times.
Video surveillance may be used to supplement, but must not be used to
replace, rounds by correctional officers.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

I believe that rounds are being completed, but cannot identify the
documentation/policies that requires the rounds as noted in the provision
above. The CCDOC is using a “watchman” system in some facilities which
document that an employee passed one of the recording points at times during
their tour of duty. The CCDOC provided a Division II “Divisional Procedures”
dated March 17, 2009, revised March 10, 2010, Living Unit Inspections “Morse
Watchman”. The procedure requires that Officers assigned to inmate living
areas conduct rounds every 30 minutes, as recorded by the Morse Watchman
system.

The defendants also provided completed Officers’ Living Unit Logs, but did not
include the procedures that guided how the logs are completed. Also provided
as evidence of rounds CCDOC General Order 9.22, effective 10/1/1997, stating
that sergeants will include their tier/wing logs during their tour of duty, but not a
specified time interval.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

IMACS will provide electronic logging of rounds as part of the electronic housing
unit log, including a “reverse” log that will notify supervisors and management
staff when requirements are not being met. The “watchman” systems identify
when employees have recorded their tours pass the scanning devices;
although it does not ensure/prove that employees were looking inside the

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inmate cell during their tour. The vigilance of these tours in terms of checking on
the health and safety of inmates can be verified via any surveillance cameras in
the units, as well as frequent supervisory tours.

The current written directives do not adequately proscribe the rounds required
of line staff, supervisors, and managers. The mandates need to be able to be
audited, ensuring accountability of the rounds.

Based on the Division II directive, I provide a, reluctant, partial compliance, but
clearly more work needs to be done.

Monitor’s Recommendations:

Ensure that these requirements are included in all relevant post orders and
governed by written policy. Ensure that supervisors/managers are monitoring
the conduct of rounds; and leaders are monitoring rounds by management
staff.




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PROVISION

32.    Safety and Security

d.   CCDOC shall ensure that security supervisors conduct daily rounds in the
inmate housing units, and document the results of their inspections.

Compliance Status: Non-compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 32.c.

The defendants provided additional information as noted in 32.c. However, no
documentation was produced directly responsive or clarifying to this provision.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 32.c.

Monitor’s Recommendations:

See 32.c.




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PROVISION

32.    Safety and Security

e.      Cook County shall increase the use of overhead video surveillance and
recording cameras to provide adequate coverage throughout the common
areas of the Facility, including the RCDC, all division intake areas, mental health
units, special management units, inmate housing units, and in common areas of
the divisions.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants have increased video surveillance and plan to open control centers
that provide locations for observation and recording of cameras (video
monitoring/security center Building V). A report dated July 8, 2010 indicates that
CCDOC believes that 2,786 cameras are required; and 760 have been installed.
According to the information provided, CCDOC is “to review the operation of
all cameras on a weekly basis, determine if the video quality acceptable, and
to review the historical footage when required.” The staffing of the video
command room is being developed as the video project moves toward
completion. A spreadsheet was provided of the buildings in which the cameras
will be installed as well as the location within the building. A Programming
Document, Volume 1 was also provided which further defined where cameras
will be located.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The CCDOC is moving forward with plans to install video surveillance as noted
above. A draft directive has been prepared along with post orders. The
defendants need to ensure that there are employees who will be assigned the
responsibilities to provide real-time, live, review of all cameras. It would be
insufficient to allow misconduct, assaults, etc. to occur, record those
occurrences, and have not immediate intervention. I am unable to determine
from the list provided of the buildings in which cameras will be/are installed if
these include the specific areas noted above. I have requested this
information from CCDOC.

Monitor’s Recommendations:

Complete policies/procedures and post orders for monitoring, supervision, and
maintenance functions. Ensure that the location of the cameras matches the

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requirements of the locations noted above. Ensure that there are staff in place
to review all cameras and intervene as necessary.




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PROVISION

32.    Safety and Security

f.    CCDOC shall maintain a procedure to prevent inmates from possessing or
having access to dangerous contraband, including conducting regular
inspections of cells and common areas of the housing units to identify and
prevent rule violations by inmates.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC general order 9.7.1 Contraband, effective, 1/29/07 establishes the
procedures for contraband control in all divisions and the list of what is
considered contraband. All visitors, employees, contractors are pat searched
when entering a facility, and their property subject to x-ray and search.
Additionally, CCDOC established a “weapons free” committee which meets the
first Friday of every month. The committee tests out new strategies to prevent
introduction of contraband and reviews proposed maintenance solutions (such
as light fixtures) with an eye toward contraband production. The committee
reported that it had seized two weapons in the last 18 months in all divisions. The
committee also generates a “hot sheet” for the division with newly developed
information regarding contraband seized and its possible source(s). The
committee also produces a “shank/weapon identification and inventory” list
which is circulated to superintendents and the Sheriff’s accountability meeting.
CCDOC employs canines and the emergency response team to conduct
searches for contraband based on information, or routinely. Superintendents
are also reported to be conducting routine searches for contraband. Also
CCDOC reclassifies/re-houses inmates who are found in weapons in their
possession are placed in administration segregation - “Weapons in My
Possession” “WIMP DECK” – housed in Division IX. Their status has reviewed
weekly. They are placed in lime green jump suits to be identified on sight.

There is a draft directive (Special Management – Custody Placement) that is
intended to guide placement of inmates in the “WIMP” deck, and reference to
these inmates is included in the Division IX training block for officers assigned to
Special Management areas. The description in the Division IX training block
notes that this area also will house inmates who have been identified as high
profile or security threats to the jail.

The Sheriff’s weekly accountability meetings discuss weapons/shanks recovered
during the previous week.


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DFM, that provides maintenance functions in the buildings, while stating their
support for security operations, do not engage in tool control, based on
accepted correctional practice. DFM employees do not receive any security-
related orientation training or retraining (as is done with ARAMARK and other
construction sub-contractors) upon beginning work inside the security perimeter.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Contraband is a critical issue in any correctional facility. The Sheriff expressed his
discomfort with the lack of oversight of seized contraband/weapons prior to his
taking office. CCDOC has placed an appropriate high priority on contraband
control. Cooperation with DFM has caused issues with contraband control
regarding maintenance and repair of broken security fixtures and hardware with
appropriate security grade materiel. The weapons free committee is a good
addition to the strategies to control contraband, establish accountability and
provide information. The committee does not have a general order or policy
governing its establishment, membership, meetings, communications, or
authority. The placement of inmates found with weapons in their possession is a
good management strategy, and the impact is that inmates may be hiding
weapons in common areas rather then their individual cells, and not
transporting weapons.

The weapon’s free committee noted that it has found weapons/contraband
identified as DFM tools. I inquired of DFM workers with tools on a cart inside
Division VI if they had an inventory of the tools on the cart. After some
discussion, they acknowledged that they did not. It was pointed out that when
DFM workers are inside inmate housing living areas making repairs that the
inmates are locked down. While a good practice, this does not ensure that all
tools are collected and accounted for when workers leave these housing units,
or other areas of the divisions. Additionally, DFM maintains locked storage
areas/work areas inside divisions that CCDOC does not have keys to and
presumable for which there is not a tool and/or hazardous materials logs.
CCDOC reports DFM’s cooperating in cleaning those areas and removing items
no longer used. At this time, DFM workers who realize that they have
“misplaced” any tools or other items that can be manufactured into weapons
by inmates, have no incentive to timely report the missing item to CCDOC.

Monitor’s Recommendations:

CCDOC is making a credible effort, consistent with accepted correctional
practice in controlling contraband. Consider developing a policy formalizing
the weapons free committee addressing the issues noted above.




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Ensure vigilance regarding DFM’s plans for replacement/repair of security areas
where the replacements, if not security grade, potentially endanger inmates
and staff. Update the general order 9.7.1 as it hasn’t been updated since 1997.

Accepted correctional practice includes orientation/training for maintenance
workers inside any secure setting. This should be done for all DFM workers who
will be assigned inside any CCDOC security perimeter. Accepted practice also
requires inventories of tools and related hazardous materials. DFM should be
required to maintain, update, and open for inspection all storage areas now
under their control. DFM should be required to maintain inventories on all parts
or otherwise transported by DFM workers inside a security perimeter. DFM policy
should mandate that employees who even suspect that a tool or other item are
missing, report it immediately to the nearest correctional officer. CCDOC should
have access to all areas inside the security perimeter, including those work
areas now controlled/locked by DFM. A periodic joint inspection of these areas
should be conducted, and results, including any remedial action
needed/taken, documented.

Ensure that there are written policies/procedures for re-classifying inmates to the
“WIMP” deck, including their supervision, re-assessment, and removal from that
classification.




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PROVISION

32.    Safety and Security

g.   CCDOC shall review, and revise as applicable, all General Orders
(“GOs”), Standard Operating Procedures (“SOPs”), and Post Orders on an
annual basis, or more frequently as needed.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Sheriff’s Order 11.1.1.0, Written Directives System: Written Directives, effective
date February 8, 2010 provides in section VIII. 6:

“6.   All directives outlined in this order will be reviewed on an annual basis,
from the effective date, to determine if the order requires editing, updating or
any other action.”

The CCDOC is re-evaluating/updating all written directives. This process
includes identifying which CCDOC directives will become CCSO general orders.
The CCDOC is awaiting the assignment of staff (post-Shakman) to assist with this
important function.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

As this directive was put into place in February 2010 I have not been able to
determine if policies/procedures have fallen within the review period. I was
unable, due to time constraints to determine this in June.

The directive provides excellent oversight to the CCSO’s written directive system.
I believe CCSO has an effective strategy in place, providing that staffing
resources are devoted as soon as possible. A schedule of when
policies/procedures will be updated will be furnished to me when the staffing is
provided and a realistic assessment of the work to be done concluded.

Monitor’s Recommendations:

Ensure process in place that identifies and documents policy reviews per this
CCSO directive. Continue to update/review policies/procedures at the office-
wide and CCDOC level.




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PROVISION

32.    Safety and Security

h.     CCDOC shall revise policies, SOPs, and post orders for all armed posts to
include proper use and safe handling of weapons and provide specific
instructions on use of deadly force and when and under what circumstances
such force should be used, in accordance with generally accepted
correctional standards.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Use of force policy draft will address those posts with access to deadly force.
CCDOC reports these are all external posts, working on the complex’s
perimeter. CCDOC general order 9.15, Control of Firearms and Other Security
Equipment, effective date 4/01/84, provides direction regarding availability,
storage, issuing, inventory, and load/unloading firearms. These CCDOC policies
and post orders will be evaluated and updates as necessary (see 32. g.)
Defendants provided a draft of a CCSO post order addressing this provision

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

I received a list of all posts, but did not specifically request the post orders for
those posts which are armed; or if specialized training is provided to individuals
assigned to these posts. The CCDOC policy dates from 1984 and would benefit
from updating, and addressing the issues in this provision. As noted above, all
CCDOC written directives are under review/updating process at this time.

Monitor’s Recommendations:

Complete updated use of force policy; update post order for all posts where
carrying weapons is mandated/allowed; review minimum qualifications for
assignment to these posts, review lesson plans for individuals with these
assignments.




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PROVISION

32.    Safety and Security

i.     CCDOC shall standardize security policies, procedures, staffing reports,
and post analysis reports across the divisions, to the extent possible, taking into
account the different security levels and different physical layouts in the various
divisions.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC is reviewing and updating all policies, procedures, post orders – all
written directives. Each division has its own SOPs. It is the goal of this initiative
(Capt. Milka and Lt. Zerbes) to consolidate directives that are the same across
all divisions, while allowing for different directives based on the division’s mission,
architecture, etc. Staffing for this function within CCDOC is pending (Post-
Shakman).

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

This is a time consuming and meticulous initiative. The work is on-going with no
time table provided. The timetable will be provided to me when staffing is
assigned to this function and a realistic assessment made. The CCDOC has a
good strategy in place to meet this provision.

Monitor’s Recommendations:

A timetable for development, review, finalization, updating, [and training lesson
plan updates] will be helpful in evaluating this process. CCDOC will provide this
as noted above.




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PROVISION

32.    Safety and Security

j.     CCDOC shall provide formal training on division-specific SOPs to
correctional officers in accordance with their assignments, and shall provide
further specialized training for officers assigned to Special Management Units.
Cermak Hospital shall provide specialized training for officers assigned to
psychiatric units. [From Consent agreement “Special Management Units” means
those housing units of the Facility designated for inmates in administrative or
disciplinary segregation, in protective custody, on suicide precautions, or with
mental illness.”] Coordinate with Drs. Shansky and Metzner.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Formal Training on Division-Specific SOPS: Division IX has specific training (4
hours) for officers and supervisors to their divisional SOP. See below.

Psychiatric Units: Defendants are providing Training Institute-based formal in-
service training that may partially address this provision inasmuch as this training
will be delivered to all newly hired officers. Defendants report that roll-call
training is also provided to address division-specific post requirements. Training
for employees assigned to psychiatric units is coordinated with Cermak. Dr.
Hart, in my meeting with he and his staff on June 24th indicated that Cermak’s
involvement needs to be placed in policy/procedure and lesson plans
developed. Dr. Hart reported that he personally observed the training at the
Training Institute to assess it. The Training Institute has hired former Cermak
psychologist Dr. Carl Alimo [and Dr. Deere] to conduct this training. Director
Kurtovich reported to me in a meeting on August 20th that the Training Institute is
proceeding with lesson plans that they will offer to Cermak for review.

CCDOC reports that employees who bid to work in the mental health must
commit to a two year tour. But practically speaking, employees may cycle
through that unit more frequently, indicating a need for a training response for
newly assigned officers when formal classroom training may not be available.

Special Management Units: Division IX has established it’s own 4-hour training
programs for officers and supervisors who will be assigned there. These include
outlines for separate trainings for sergeants and for officers. Sign-off sheets were
provided noting those attending the training.




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Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Psychiatric Units: The defendants are moving toward providing and
documenting training through lesson plans and documentation in employees’
files. There needs to be coordination between the Training Institute and Cermak
to ensure that the provisions, above, are addressed, and that roles and
responsibilities for development, review, and instruction are clear.

Special Management Units: Division IX appears to be providing a 4-hour training
to officers and supervisors assigned. If inmates who meet the definition of
special management noted above are housed outside of Cermak or Division IX,
further evaluation of specialized training is needed.

Formal Training on Division-Specific SOPS: I am unaware of division-specific SOP
training except for Division IX. The newly implemented field-training program for
officers completing training addresses some of these issues, but Chief Howell
indicated that the specifics of each division are not included in the FTO program
due to the two-week length of the program.

Monitor’s Recommendations:

Psychiatric Units: A suggested approach – use a training committee strategy to
oversee and coordinate training. Ensure lesson plans are completed, and that
there is evidence of employees’ knowledge gained during the training. The
policy/strategy should also address how soon following assignment to posts
training must be completed, as well as remedial training, if any, that is proposed
for employees whose compliance with policies/procedures is documented as
violating CCSO rules. See also Dr. Metzner’s recommendation in 59.d. Dr.
Metzner indicates he has nothing to add to this recommendation.

Convene an inter-disciplinary committee to address these specific
policy/operational issues needing coordination between Cermak and CCDOC.

Special Management Units: Division IX should coordinate their training with the
Training Institute, place their training outlines in appropriate lesson plan formats,
and develop a means to measure knowledge gained in the training (based on
the goals). Ensure that those providing instruction are qualified and trained to
do so. Ensure that completed training is noted in the employee’s agency
training file.

Formal Training on Division-Specific SOPS: CCDOC needs to develop an
orientation/training program for officers newly assigned to each of the divisions.
This work will also benefit the FTO program. The challenge will be to address the
results of the bidding process that results in movement of officers through the
complex at least annually.

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PROVISION

32.    Safety and Security

k.     CCDOC shall maintain in working order all monitoring equipment at the
Facility that is under CCDOC’s direct control, including cameras, alarms, radios
(hand held), interior and exterior lighting, x-ray and other screening equipment,
and walk-through metal detectors. To the extent that the maintenance of any
Facility monitoring equipment is under the control of DFM, CCDOC shall
promptly report any maintenance needs and DFM shall prioritize its services to
ensure that all monitoring equipment is maintained in working order.
Coordinate with Grenawitzke.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Coordination of these activities is vested in Jay Rutili who oversees the
equipment. (See also 32.e.) It is reported that the CCSO Police do
maintenance for the radios that is noted in a logbook. Personal body alarms
are linked to a computer system that tracks any activations. Any equipment
overseen by DFM is repaired by a DFM employed technician, or outside
vendor/contractor depending if there is a contract for service. CCSO reports
plans to link the jail’s IMACS to the new DFM web-based work order system
(WIZARD).

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Documentation of compliance will be the policies/procedures for the above;
along with evidence of timely reporting, repair of monitoring equipment; and a
written agreement between CCSO and DFM.

Monitor’s Recommendations:

Prepare policy/procedure regarding this provision, assuring accountability and
oversight.




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PROVISION

32.    Safety and Security

l.    Absent exigent circumstances, CCDOC: (i) shall house each inmate
assigned to a division that is celled to one permanent bed in a cell and shall not
house any inmates (including those assigned to dormitory divisions) such that
they are sleeping on the floor, on a mattress on the floor, or in any area not
designed or redesigned as sleeping quarters; (ii) shall not house more than two
inmates to a single cell (triple-bunking); and (iii) shall not hot-bunk any inmates.

Compliance Status:          Not applicable at this time.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants report that these circumstances do not exist at this time.

Defendants prepared a memorandum, authored by 1st Assistant Executive
Director Hickerson, dated September 8, 2010, that incorporates the language of
this provision.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Defendants are committed to this provision as evidenced by Mr. Hickerson’s
memo.

Monitor’s Recommendations:

A policy statement has been developed.




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PROVISION

32.    Safety and Security

m.     When exigent circumstances give rise to triple-bunking, CCDOC shall
provide the third inmate in the triple-bunked cell a “boat,” stackable bunk,
moveable platform, or cot, so that the inmate is not required to lay down
directly on the cell floor or on a mattress on the floor.

Compliance Status:          Not applicable at this time.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants prepared a memorandum, authored by 1st Assistant Executive
Director Hickerson, dated September 8, 2010, that incorporates the language of
this provision.

See 32. l.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Defendants report that these circumstances do not exist at this time.
See 32. l.

Monitor’s Recommendations:

A policy statement has been developed.




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PROVISION

33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

a.     In the fiscal year 2010 budget, Cook County shall allocate funds sufficient
to allow for 210 additional correctional officer positions at the Facility.
Consistent with provision 33.c, such funding may occur on a rolling basis, as
appropriate in light of the time required to hire, train, and put on duty the
additional 210 new correctional officers.

Compliance Status:          Compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants have budgeted for 210 correctional officer positions in the FY 2010
budget. Documentation was provided on August 3, 2010. CCDOC has
requested that 67 correctional officer positions be reclassified to civilian
positions, allowing those officers to be moved to security operations. The Court
was petitioned on July 2, 2010 to amend this order.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The defendants have satisfied this provision by including positions in the FY 2010
budget request and seeking permission of the Court to allow reallocation of
officer positions to civilian positions.

Monitor’s Recommendations:

Work to implement the provisions noted above, conversion of positions and
additional hires of officers.




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PROVISION

33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

b.     CCDOC shall use its best efforts (through the maintenance of the written
staffing plan required by provision 33.h and otherwise) to ensure that the
number of correctional officer vacancies is kept to the minimum practicable
number at all times, taking into account that the timing of terminations and
resignations and the resulting rate of attrition may, in ordinary course, result in
there being some vacancies at any given time.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants do not have a hiring plan or a staffing plan that has been updated
since the MGT study of 2005 – 2006. In 2008 the defendants updated their hiring
processes for corrections officers. Among the changes are addition of a pre-
employment psychological screening and a pre-employment polygraph
examination. CCDOC reported that between 6/1/2005 and 6/1/2010 1,154
employees were hired (unspecified if all or some were officers); and of that
number hired, 818 left CCDOC. Since 2008, 317 officers have been hired. In
that same period, 177 sworn employees have left due to resignation (126),
retirement (112), deceased (21), and terminated (18). The rate at which sworn
officers are leaving has declined since 2005 (drop of 37% from 2005 – 2009),
which is a shared experience among public sector employers, attributed to
general economic conditions. As of 5/29/2010, CCDOC reported 444
vacancies, including supervisory and management ranks, of which were 397
correctional officer vacancies. It is not clear if those vacancies include the
positions mandated by the consent agreement. There are seven (7) employees
with more than 30 years of service who may retire.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The CCSO will reach the hiring as required in the consent agreement although
not on the required schedule. In fact, the process is yielding, according to the
Training Institute staff and the superintendents, good quality candidates.

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However, the process through which candidates travel is in need of review and
updating. Current economic realities ensure a pool of candidates, but as the
economy improves, current employees opt for retirement, and/or as other
public services organizations (e.g. the Chicago Police) resume hiring, the pool
may not be as deep as needed long-term. There also appears to be wasted
resources as a result of not analyzing and updating hiring processes. The
absence of a hiring plan – perhaps with a 5 year or 10 year focus would also be
beneficial to guiding recruitment and hiring.

Until I asked for data used in this assessment, there was, to the best of my
knowledge, no details were collected and analyzed regarding the hiring
process from the time of application through job offer. This is, however, critical
information to managing the resources associated with recruitment, hiring and
retention. Tracking data provides insight into modifications needed in the
process, ensures no adverse impact in the various steps in the process, and helps
ensure quality candidates are hired; and stay on the job.

The Merit Board: The bi-furcated hiring process for corrections officers is
potentially problematic to keeping a current pool of qualified candidates to fill
vacancies. The recruitment, screening, testing, and background investigations
for candidates are handled by the Merit Board. For the period January 1, 2009
through July 31, 2010, the Merit Board received 20,558 applications (requiring a
$25 fee). Of those 11,651 (43%) participated in the written examination. There is
no data maintained as to why 47% of candidates did not take the written
examination. To assist candidates to pass the written examination, the Merit
Board offers a pre-test seminar. During this period, 5,560 participated in the pre-
test seminar, of those 4,337 (78%) took the test, of which 1,735 (31%of pre-test
seminar participants) passed the test. Of the total of 11,651 taking the written
test, 5,571 (48%) passed the test.

The next step in the Merit Board’s process is a physical agility test (PAT). Of the
5,571 taking the test, 3,946 letters were sent notifying candidates of this step. It is
unknown why fewer letters were sent than the number passing the test. Of those
taking the PAT, 69% passed the test.

The next step in the Merit Board’s process is the background investigation.
During this period, the Merit Board reports that 2,147 investigations were
completed. Again, it is unknown why there were fewer investigation than the
2,725 passing the PAT. Of the background investigations, 54% failed. No data is
apparently maintained as to why candidates are disqualified. The names of
1,149 were forwarded to The CCSO’s Human Resources section for further
evaluation.

The Merit Board reports that the process from application through forwarding
the name to CCSO Human Resources can take six months.


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The Merit Board does not maintain and/or analyze data regarding the sex or
race of individuals coming through those processes; thus any adverse impact of
other related issues cannot identified.

CCSO Human Resources: Of the 1,149 names provided to Human Resources,
1,795 (no explanation for the difference in the numbers) letters were sent to
invite candidates to another physical agility test, of which 1,750 appeared; and
51% passed. Reasons for those not passing (N=893) were reported as: 30% were
no shows; 50% failed all or part of the test; 3% were late; 18% lack required
documentation. Re-testing was offered to 1,034 candidates (no explanation of
differences in the numbers), with 31% passed.

The next step in the process for Human Resources is the polygraph examination.
Of the 877 candidates tested, 79% were rated as acceptable. Next, 821
candidates moved onto the pre-employment psychological screening; of which
60% were recommended (N=493). The interview process screened 619
candidates, with only 1.3% rated as not acceptable. A final background
screening of the candidates excluded less than 1%. There were no candidates
excluded by the substance abuse testing.

The pre-employment psychological examination has been validated by the
vendor for CCDOC and the vendors have also followed up with the Training
Institute staff to assess the impact of their recommended selections.

Human Resources maintains data on the race/sex of candidates and can assess
adverse impact for each step in the process. Human Resources estimates that
the hiring process takes 90 days, at a minimum.

Since the updated hiring process was put in place, 14 officers have left within
one month of hiring. This is reported as a much lower rate than before the
updated process was put in place.

CCSO is able to conduct three pre-service Training Institute overlapping
programs simultaneously (approximately 35-40 in each class). The data as
provided by CCSO is as follows for pre-service graduates: 2008 = 21; 2009 = 86;
and for 2010 year to date = 183.

The CCDOC has also implemented a field-training program that provides two
weeks of post-Training Institute structured learning and evaluation. This program
is in its infancy, and has received good reviews from the Superintendents. The
field-training officers (FTOs) receive 40 hours of training and there is a draft
policy/procedure governing the processes. The program’s supervisors hopes to
train an additional 25 FTOs in the near future.




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Monitor’s Recommendations:

I spent time learning about and analyzing the recruitment and hiring process as
it is critical to not only filling the vacancies required in the consent agreement,
but to the long-term health of the organization – keeping vacancies filled with
qualified candidates. The concerns I have are as follows:

   •   A $25 fee is collected in order for a candidate to take the entry-level test.
       The Merit Board reports that waivers can be requested; although finding
       that information on the web site was not successful. The questions are: is
       the fee meant to off-set costs ($25 * 20,558 = $513,950); or as an
       assessment of how serious candidates are? If the Merit Board chooses to
       continue the fee, the waiver request process should be prominently
       displayed/identified on the website and in written materials, along with
       the criteria to grant a waiver, in order not to have an impact on
       economically disadvantaged populations in the hiring process.

   •   The Merit Board should collect race/sex/age data for candidates in order
       to ensure that no steps in the process have adverse impact. The Merit
       Board should consider collecting data bout why candidates do not pass
       specific steps in their parts of the hiring process.

   •   The Merit Board does not keep data regarding how candidates learned
       about job openings. This is important information in developing a hiring
       plan, along with assessing various strategies (e.g., what works? Newspaper
       advertising, Internet presence, employee referrals, college job fairs?).

   •   While a pre-testing seminar is a good strategy, the Merit Board should
       examine why 31% of those participating in the seminar actually pass the
       test.

   •   The need to have two physical agility tests should be reviewed. The Merit
       Board had a 69% passing rate for the Merit Board’s PAT (N = 2,725) and
       the CCSO’s Human Resources PAT had a 51% pass rate (N = 857). Said
       another way, only 31% of those passing the Merit Board’s PAT pass the
       CCSO’s PAT. This review may present resource reallocation options, or
       avoidance of costs.

   •   The Merit Board’s pre-testing seminar should be reviewed. As noted
       above, 31% of candidates who participated in this step passed the written
       test. Perhaps this is good news in terms of identifying those candidates
       with the skills needed for this job; but assessing what part of the test is not
       being passed, along with reviewing data regarding adverse impact
       should be undertaken.




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   •   The Merit Board should consider updating their application and allowing
       candidates to apply on-line. The Merit Board (along with CCSO) should
       clearly list the specific disqualifers (e.g., drug use, criminal record, gang
       affiliation, driving record, employment history) at the start of the hiring
       process, on-line, and allow potential candidates to self-select out. The
       notion that somehow there is an advantage to candidates in the hiring
       process who know the disqualifiers is not supported by any research or
       documentation. Obviously, the Merit Board and the Sheriff should agree
       on what those disqualifers are.

   •   No tour of the jail is offered until after a candidate is hired. While this does
       not seem to have an impact on the number of candidates; it is not
       accepted practice. Candidates (and their parents/family) should be
       offered a tour of the facilities at the beginning of the hiring process.

   •   The six-month period of time (optimistically) to get through the Merit
       Board’s initial stages of the hiring process is too long. While in the current
       economy there is a pool of candidates, if and when the economy
       changes, this lag will result in qualified candidates taking jobs elsewhere
       or just giving up. Whether the time needed to screen a candidate is due
       to process or resources needs to be reviewed. Additionally, if other public
       service organizations begin hiring (e.g., Chicago Police Dept.) additional
       strain on the system will result both in terms of candidates and CCDOC
       employees who may wish to move to law enforcement jobs.

   •   The value of the candidate interview should be reviewed with only 1.3% of
       candidates screened out. The purpose of the interview should be defined
       (e.g., allow CCDOC employees/superintendents to meet candidates, or
       provide more information/insight to candidates about the job). Perhaps,
       when the goals of the interview are defined, other more timely and less
       resource-intensive strategies can be developed.

   •   Human Resources should work to shorten their part of the hiring process.
       All told, a candidate can wait nine months or more [most likely more] for a
       hiring decision. Given what is known about the new generation of
       workers, they are likely to accept other positions, or just give up. A
       suggestion to survey the last 125 correctional officer hires about their
       experience in the process may inform and guide any revisions.

   •   Human Resources should maintain data (as described herein) about the
       hiring process. The Merit Board and the CCSO should know how many
       candidates need to take the entry-level test in order to result in one hire.
       Given the data known at this time, if there are 20,558 applicants, and
       approximately 609 appear ready for hire – 34 applications to hire one
       employee.


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   •   The Training Institute reports that the quality of applicants has improved as
       measured by in-class work and passing the state test. The Training Institute
       staff should continue to provide feedback to Human Resources regarding
       applicants.

   •   The implementation of a field-training program is a good step, and an
       agency of the CCDOC would be expected to have such a program.
       While a two-week program is a good first step, accepted practice are
       field training programs of up to 12 weeks in length. While not advocating
       12 – weeks, two weeks may not enough time given the complexity and
       size of CCDOC’s operations, especially with the consent agreement’s
       requirement that CCDOC provide formal divisional training (paragraph
       32.j.) The FTO program needs to be linked to the pre-service Training
       Institute by means of monthly meetings in order for the Training Institute
       staff to update FTOs about curricula, and for FTOs to give feedback to the
       Training Institute in terms of the new employees they are training.

   •   A hiring plan should be developed that will address current and future
       anticipated vacancies, based on the data mined from the process. This
       data will also help evaluate the steps in the hiring process and the
       effectiveness of each step. Be developing a specific plan, accountability
       can be established for the recruiting, hiring, pre-service and probationary
       year. There is a document entitled “Employment Plan” which provides the
       internal procedures for Human Resources. This, of course, is needed, but
       does not constitute a hiring plan.




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PROVISION

33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

c.     CCDOC shall fill the 210 additional correctional officer slots provided for in
provision 33.a; fill the 285 correctional officer vacancies that existed at the
Facility as of July 17, 2009; and fill any correctional officer vacancies coming into
existence after that date in the following manner:
       i.     By December 31, 2010, CCDOC shall hire, train, and put on duty at
the Facility at least 448 [381] newly qualified correctional officers (in addition to
those on duty as of December 31, 2009).
       ii.    By March 30, 2011, CCDOC shall hire, train, and put on duty at the
Facility at least 178 [107] newly qualified correctional officers (in addition to
those on duty as of December 31, 2010).

Compliance Status:          Non-compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 33.b. The CCSO is making steady progress in hiring.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 33.b. for assessment and recommendations. My opinion is that the
strategies now in place will yield qualified and trained correctional officers.
Operating more than three pre-service academies simultaneously will overly
strain resources and endanger accountability and quality.

Monitor’s Recommendations:

See 33.b.




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PROVISION

33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

d.    The parties agree that for 30 months following the effective date of this
Agreed Order, Cook County and CCDOC shall not be required to provide
additional correctional officer staffing and supervision at the Facility beyond
that which is necessary to ensure that correctional officer staffing and
supervision are sufficient to achieve the purposes set out in the introductory
paragraph of provision 33 and to comply with provisions 33.a-c above.

Compliance Status:          Not applicable at this time.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Monitor’s Recommendations:

Review of the current staffing plan should be performed on a regular basis so
that staffing and supervisory issues are identified well ahead of the 30-month
milestone noted in this provision.




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PROVISION

33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

e.      Within 30 months of the effective date of this Agreed Order, the CCDOC
Monitor shall assess and make a recommendation on whether the correctional
officer staffing and supervision levels are appropriate to adequately supervise
inmates at the Facility, in accordance with generally accepted correctional
standards. If the CCDOC Monitor determines that staffing is inadequate, the
CCDOC Monitor will make a recommendation regarding the appropriate
number of correctional officer staff. If the parties do not accept the CCDOC
Monitor’s staffing recommendation, CCDOC and Cook County shall agree to
an independent, comprehensive study to determine the appropriate
correctional officer staffing and supervision. The parties agree that the results of
this staffing study shall provide guidance as to the sufficient number of qualified
correctional officers necessary to operate the Facility safely and to carry out the
requirements of this Agreed Order.

Compliance Status:          Not applicable at this time.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Monitor’s Recommendations:

Review of the current staffing plan should be performed on a regular basis so
that staffing and supervisory issues are identified well ahead of the 30-month
milestone noted in this provision.




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PROVISION

33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

f.     If the staffing study requires additional correctional officers, Cook County
shall allocate funds sufficient to maintain correctional officer staffing levels
necessary to carry out the requirements of this Agreed Order and to allow for
the safe operation of the Facility, consistent with generally accepted
correctional standards.

Compliance Status:          Not applicable at this time.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Monitor’s Recommendations:

None at this time.




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PROVISION

33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

g.    If the staffing study requires additional correctional officers, and consistent
with Cook County’s allocation of funds for security staffing, CCDOC shall hire
and train sufficient number of qualified correctional officers and other staff to
carry out the requirements of this Agreed Order and to allow for the safe
operation of the Facility, consistent with generally accepted correctional
standards, including:
1.    Investigative staffing sufficient to meet the internal investigation
      responsibilities outlined in this Agreed Order;
2.    Correctional officer staffing sufficient to provide inmates requiring
      treatment with adequate access to appropriate medical and mental
      health care by providing timely movement of inmates to medical units,
      transport of inmates who have been referred for outside specialty care,
      and escort, if necessary, to Qualified Medical and Mental Health Staff on
      housing units; and
3.    Qualified staff sufficient to monitor security cameras in real time and allow
      for supervisory viewing and retrieving at any time.

Compliance Status:          Not applicable at this time. However, see below.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Based on the evaluation of Drs. Metzner and Shansky, there are insufficient
security staff to assist with medically related functions such as medication
administration.

OPR is awaiting hiring 10 new employees, 2 of which are supervisors. As of the
week of August 16th, Human Resources indicated that interviews would begin
shortly.




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Monitor’s Recommendations:

Re: medication administration - Establish an inter-disciplinary committee to
identify the problem(s) and develop specific solutions, including indicators that
will assess if the solutions are effective.

Re: OPR - Maintaining staffing levels in OPR should be a priority.




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33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

h.     CCDOC shall maintain a written staffing plan that requires sufficient
staffing to carry out the requirements of this Agreed Order and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards.

Compliance Status:          Non-compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

A staffing study by MGT of America was completed in 2006. There was a
companion in-house study conducted prior to the MGT study. A review has not
yet been finalized regarding the staffing needs for the new reception center,
due to be completed in two years.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

A staffing plan, updated at least annually, is necessary to ensure adequate staff,
address overtime, reevaluate staffing when functions change for various
buildings/facilities/missions; and inform a hiring plan. Staffing plans produce
highly charged discussions/analysis due to the financial implications of the
outcomes.

Monitor’s Recommendations:

The defendants should develop a strategy for how the staffing plan will be
updated, along with the timetable.




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33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

i.      Absent exigent circumstances, CCDOC shall maintain a practice that
does not allow for scheduled, planned, or expected cross-watching (a CCDOC
practice of allowing one correctional officer to simultaneously supervise two
housing units from the control center of one of the units) at any time on all
maximum security and Special Management Units, and during first and second
shifts throughout the Facility.

Compliance Status:          Not applicable at this time.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:
In a memorandum from Gary Hickerson dated September 8, 2010, the CCDOC
has indicated it will establish the necessary policies and procedures to address
both 33.i. and 33.j. These procedures will define the elements of what will
constitute cross-watching.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Policy direction provided.

Monitor’s Recommendations:

Policy direction provided; suggest having the CCDOC Executive Director issue
this order. Ensure that this information is referenced in the CCDOC classification
procedures and housing plan.




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33.   Security Staffing. The parties agree that correctional officer staffing and
supervision levels at the Facility must be appropriate to adequately supervise
inmates, to carry out the requirements of this Agreed Order, and to allow for the
safe operation of the Facility, consistent with generally accepted correctional
standards. Cook County and CCDOC shall take such actions as shall ensure
that correctional officer staffing and supervision at the Facility are sufficient to
achieve these purposes. These actions shall include the following:

j.     CCDOC may permit cross-watching on third shift in housing units that are
not maximum security or Special Management Units only if the Monitor does not
object after consultation and review. The Monitor’s review of the
appropriateness of third-shift cross-watching on a particular housing unit shall be
guided by the sufficiency of sightlines between the units being cross-watched,
the adequacy of video and/or audio technologies in place, and/or other
factors that bear on the safety and security of inmates and staff. If the Monitor
later objects to any cross-watching that is in effect because of the Monitor’s
concerns that cross-watching on a particular housing unit presents an undue risk
to the safety and security of inmates and staff, CCDOC shall immediately cease
such cross-watching. CCDOC may renew cross-watching on that unit again if,
after further consultation with and review by the Monitor, the Monitor does not
object to such renewal. Although cross-watching is permitted under the limited
circumstances described herein, CCDOC will work to eliminate the practice at
the Facility.

Compliance Status:          Not applicable at this time.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 33.i.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Monitor’s Recommendations:

Policy direction provided; suggest having the CCDOC Executive Director issue
this order. Ensure that this information is referenced in the CCDOC classification
procedures and housing plan.




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PROVISION

34.    Incidents and Referrals

a.     CCDOC shall continue to ensure that staff adequately and promptly
document all reportable incidents, including inmate fights, rule violations,
inmate injuries, suicides and suicide attempts, cell extractions, medical
emergencies, contraband, vandalism, escapes and escape attempts, fires, and
other incidents causing a disruption to standard CCDOC practice, in
accordance with generally accepted correctional standards.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC general order 9.1A, Reporting Unusual Incidents, effective date 4/10/09,
includes the procedures for employee reporting and documenting unusual
events. The general order references specifically inmate fights, inmate injuries,
inmate injuries as the result of stabbings, deaths/suicides, contraband,
escapes/escape attempts, fires. The order does not specifically mention rule
violations (as a whole), cell extractions, all medical emergencies (exclusive of
those noted in the previous sentence), or vandalism. Reporting regarding use of
force is also addressed in the office-wide policy being completed at this time.
This policy is being evaluated along with all other written directives of CCDOC.
The CCDOC is currently planning to evaluate then implement the incident-
reporting module of the IMACS system. This will capture the information noted in
the provision, above.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Currently the process of preparing reports is not automated. The written
directive governing reporting is also under review/updating. Plans call for
employees to begin using IMACS on an evaluative trial period for all incident
reports, parallel to the pen/paper system. When the results are reviewed, the
IMACS module will be implemented. There are still issues about how reports,
automated or not, are referred to OPR.

Monitor’s Recommendations:

Amend the general order to address the provisions noted above. Amend lesson
plans. Implement the incident reporting module of IMACS as soon as testing
indicates employees are trained and ready.
See also 31.d., 31.e., 34.a., 34. b.

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PROVISION

34.    Incidents and Referrals

b.    CCDOC shall continue to ensure that correctional officers receive formal
pre-service and in-service training on proper incident reporting policies and
procedures, in accordance with generally accepted correctional standards.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants providing pre-service and in-service training, and planning a system
of remedial training that addresses proper and expected reporting procedures.
The general order in CCDOC needs amending to address the provisions of 34.a.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Substantial compliance will be achieved when the final use of force policy is
implemented, the CCDOC general order updated, lesson plans updated, and a
review of reports undertaken.
See also 34.a.

Monitor’s Recommendations:

Completion of use of force policy; updating CCDOD general order, updating
lesson plans to reflect report writing for all reportable incidents; ensure system of
identify employees with report writing deficiencies and provision of remedial
training.
See also 31.d., 31.e., 34.a., 34.b.




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PROVISION

34.    Incidents and Referrals

c.    CCDOC shall maintain a system to track all reportable incidents (as
described in provision 34.a) that, at a minimum, includes the following
information:
1.    incident tracking number;              8.    primary and secondary staff
2.    the inmate(s) name;                          involved;
3.    housing assignment;                    9.    reviewing supervisor;
4.    date;                                  10.   external reviews and results (if
5.    type of incident;                            applicable);
6.    injuries (if applicable);              11.   remedy taken (if appropriate);
7.    medical care (if applicable);                and
                                             12.   administrative sign-off.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC general order 9.1A, Reporting Unusual Incidents, effective date 4/10/09
describes a manual system. The new IMACS has an incident-reporting module
that includes most of the information noted above. A review of Chapter 12:
Incident Reporting System of the IMACS Manual indicates that all elements
noted above, except that I was unable to evaluate the incident titles (type of
incident); medical care is in Cermak files, not CCDOC files (system appears to
allow medication notification field along with name of medical person and ID
number of medical person, date/time service provided); “remedy taken”
because the terms are undefined; and “administrative sign off” as that is also
undefined. The system does track the alleged inmate infraction, suspects,
witnesses, victims, description of incident, whether force was used, whether a
hearing was held, sanctions or discipline as a result of the incident. The system
allows a report to be “submitted forward”.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

IMACS will be a significant improvement to manually-produced and tracked
reports.

Monitor’s Recommendations:

Continue implementation and training regarding IMACS.


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PROVISION

34.    Incidents and Referrals

d.     CCDOC shall require prompt administrative review of incident reports.
Such reviews shall include a case-by-case review of individual incidents as well
as a systemic review in order to identify patterns of incidents. CCDOC shall
incorporate such information into quality management practices and take
necessary corrective action.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC general order 9.1A, Reporting Unusual Incidents, effective date 4/10/09,
does not require administrative review of incident reports. Use of Force reports
are governed by the draft use of force policy and will be reviewed. The Sheriff’s
accountability meetings address some reports, but as noted, this process is not
governed by written policy and procedure.
OPR SOP 103.14, Procedural Reform Recommendations, requires that
investigators and unit directors review each completed OPR investigation to
assess if there are systemic weaknesses identified. If any such elements are
identified, they are transmitted to the Executive Director.
Defendants provided a draft of a CCDOC general order entitled
“Accountability Meetings” undated).

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

CCDOC is moving in this direction as evidenced by the draft use of force policy
and the Sheriff’s accountability meetings. I believe administrative review is
being done, but the process is not governed by policy and procedure. IMACS
provides for moving the report forward in the system to obtain the required
supervisory sign-off. Automated incident reporting system will generate
weekly/monthly reports by incident title, and on-demand reports, that will allow
quality management practices, identification of trends and issues, and engage
in problem-solving.

OPR’s requirement of reviewing investigations to identify policy, procedure or
other failures is potentially very valuable, and not often seen in corrections/law
enforcement.

The Sheriff’s weekly accountability meetings are providing the leadership
oversight and direction to continue reforms at CCDOC. The draft directive is

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needed to formally codify this process. I believe this draft needs more work to
address issues such as (for example), who is responsible for maintaining the
meetings’ records and summary minutes, and how follow-up issues are
monitored for compliance/change.

Monitor’s Recommendations:

Complete the written directive governing the accountability processes,
including the sheriff’s weekly accountability meetings.

If OPR provides any Procedural Reform Recommendations to CCDOC, tracking
those, as well as any remedial action would be valuable, especially as related
to use of force.




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PROVISION

34.    Incidents and Referrals

e.     CCDOC shall ensure that incident reports, use of force reports and inmate
grievances are screened for allegations of staff misconduct and, if the incident
or allegation meets established criteria, that it is referred for investigation.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 34.d. Incident report screening results in use of force incidents being
referred to OPR for logging and investigation if appears incident is excessive
force. See also 38 a. – d. reference inmate grievances. There is no specific
policy regarding the requirements of this provision, other than for incident
reports.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 34.d.

Monitor’s Recommendations:

Revise/update appropriate policy guidance within CCDOC and OPR.
Identify/track the investigations which are the result of information from incident
reports, use of force reports and inmate grievances. Develop the criteria,
include in policy, that guides the elements of this provision.




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PROVISION

34.    Incidents and Referrals

f.      CCDOC [OPR] shall maintain policies, procedures and practices requiring
investigations to resolve issues identified during review of incident reports,
disciplinary hearings, or inmate grievances, and determine appropriate
remedies, in accordance with generally accepted correctional standards. At a
minimum, CCDOC shall require timely and appropriate investigations of all
suicides, serious suicide attempts, inmate-on-inmate violence resulting in serious
injury, inmate-on-staff violence, inmate injuries requiring treatment by an outside
hospital, inmate injuries of a suspicious nature (including black eyes, injuries to
the mouth, injuries to the genitals, etc.), sexual misconduct between inmates,
sexual misconduct involving staff, fires, escapes, escape attempts, and deaths.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

There are three CCDOC general orders governing internal investigations, which
will be eliminated because of the creation of OPR. [These orders are: 4.1
Internal Investigations, effective date 12/01/96; 4.1A Internal Investigations,
effective date 09/01/00; and 4.1A Internal Investigations, effective date
12/01/96.] The creation of OPR and the promulgation of that unit’s standard
operating procedures on 4/1/10 results in assigning responsibilities for various
investigations to either OPR or the Department based on seriousness of the
allegation/offense. OPR must receive all use of force reports, and allegations of
excessive force. OPR’s SOP 101.12 defines “serious incident”, but the above
elements are not so defined in that directive. They also may receive grievances
directly from inmates. There is not a process by which OPR would routinely
review inmate disciplinary reports. Allegations of criminal conduct
(inmate/inmate, staff/inmate) are referred to the Cook County Sheriff’s Police
for investigation.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

OPR’s creation is a significant event in CCSO. The challenge now is to
collaborate and revise the written directives in CCDOC to align with the
authority and responsibility given to both OPR and CCDOC. The directives
governing CCDOC are being updated.




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Monitor’s Recommendations:

CCDOC/OPR/Cermak should confer regarding how the elements of this
provision will be practically implemented, included in policy, trained, and
documented as well as defining the circumstances under which grievances,
incident reports, and disciplinary reports are forwarded/reviewed by OPR. Align
the internal CCDOC general orders regarding investigations with OPR’s
responsibilities and standard operating procedures. Train the employees in
CCDOC who will have responsibilities for investigations assigned as Department
Head investigations by OPR. IMACS may provide a means for summary data
to be transferred to OPR by CCDOC in order for OPR to review grievances,
incidents, disciplinary reports and determine if follow-ups are necessary. There
needs to be a check and balance system to ensure that information is reaching
OPR regarding the incidents described in this provision.




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PROVISION

34.    Incidents and Referrals

g.    CCDOC [OPR] shall ensure that any investigation reports indicating
possible criminal behavior will be referred to the appropriate law enforcement
authority.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

OPR’s standard operating procedures provide guidance on referral for
prosecution of allegations of criminal behavior. There is an experienced
supervisor in OPR with the responsibilities to coordinate with the prosecutor and
the Merit Board. OPR investigators have law enforcement authority. In
circumstances were crimes are alleged inside CCDOC facilities, the Cook
County Sheriff’s Police will investigate. Prosecutors may decline prosecution and
OPR strives to document that from the prosecutor in the appropriate file.

See also 31.n., 35.a.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

This provision will be in substantial compliance when the draft use of force policy
is finalized along with amendments/deletion to CCDOC’s internal affairs general
orders.

Monitor’s Recommendations:

Complete the use of force directive, office wide – and amend/delete CCDOC
policies as appropriate. There needs to also be data maintained about the
opening and closing of criminal investigations (either by OPR or CCSP), as well
as outcomes, if outside the scope and capability of IAPRO.

See also 31.n., 35.a.




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PROVISION

35.    Investigations - Investigations at the Facility are conducted by
independent departments under the Cook County Sheriff’s Office, including the
Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s
Police Department. The Cook County Sheriff will assume responsibility for
requiring these investigatory units to comply with the relevant provisions of this
Agreed Order.

a.    CCDOC [OPR] shall maintain comprehensive policies, procedures, and
practices for the timely and thorough investigation of alleged staff misconduct,
in accordance with generally accepted correctional standards.

Compliance Status:          Partial Compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

The defendants have established the Office of Professional Review (OPR) that
has developed the office’s own set of policies and procedures guiding
investigations which cover all employees, inmates, arrestees of the CCSO
[Office of Professional Review, Standard Operating Procedure, dated April 1,
2010]. The OPR director and staff of this unit are specifically selected for their
expertise and provided training.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The defendants have established a very credible internal investigations process.
The strategy, which would enhance operations and improve outcomes, while
assuring allegations are investigated, is the designation of, and training for
individuals in the jail who will handle the investigations which are deemed less
serious and referred back to the Dept. of Corrections for a “department head’s
investigation”.

I have accessed this partial compliance until the CCDOC’s written directives are
updated/deleted, etc.

Monitor’s Recommendations:

The procedures will be further enhanced by training selected/designated
supervisors/managers who will be assigned investigations inside CCDOC. The
investigative procedures of OPR may also be improved relative to the mandates
of the Prison Rape Elimination Act of 2003 when the National Institute of


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Corrections’ on-site technical assistance is provided. CCDOC directives need to
be revamped based on the existence of OPR and their SOPs.




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PROVISION

35.    Investigations - Investigations at the Facility are conducted by
independent departments under the Cook County Sheriff’s Office, including the
Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s
Police Department. The Cook County Sheriff will assume responsibility for
requiring these investigatory units to comply with the relevant provisions of this
Agreed Order.

b.    Internal investigations shall be conducted by persons who do not have
supervisory responsibility for the staff member(s) being investigated.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants have established a process by which serious allegations (internal
investigations) are investigated by the Office of Professional Review. Allegations
that are determined not to rise to a serious level are returned to the Executive
Director of the Dept. of Correction for investigation and tracked by OPR. The
CCDOC Executive Director may return investigations that he believes are not
appropriate for review inside the Dept. of Corrections.

OPR standard operating procedure 102.5 provides for six classes of complaints
(1. OPR investigations – allegations likely to result in criminal prosecution if
sustained; 2. department head investigations – allegations appear unfounded
or of a less serious nature – rule violations; 3. information only – no allegations
against an employee or contractor or lack substance; 4. summary discipline –
regarding performance of employees generally initiated by the employee’s
department for which OPR responsibilities are to process/log, review employee’s
past discipline history, communicate with the employee’s unit director, forward
final disposition to Administrative Section for processing, update the data base
in OPR (IAPRO); 5. use of force; and 6. Correspondence log – information that
lack sufficient information to determine if misconduct is present).

CCDOC has general orders regarding internal investigations that need
updating/eliminating or conforming to the OPR role and standard operating
procedures.

Defendants provided on September 14th an unsigned amendment to CCDOC
General Order # 4.1, dated 9/8/2010, that incorporates the language included
in this provision.




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Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The defendants have a process in place to evaluate allegations and determine
where to invest resources of OPR. This process will be enhanced by training
those command level/supervisory staff who will be assigned reviews from OPR.
CCDOC general orders on these topics need to be updated.

As noted above, defendants have produced an amendment to a CCDOC
General Order #4.1 incorporating the language of this provision. Perhaps this
language needs to be added to OPR’s Standard Operating Procedures, so OPR
can monitor this provision when they review department head investigative
results, or when they enter data regarding other investigations into IAPro, or
other database.

Monitor’s Recommendations:

Providing training to the individuals in the CCDOC who will be conducting
“department head’s investigation” to ensure that they are skilled in the
techniques required, and know from whom at OPR to seek assistance, and
when to refer the review back to OPR if additional allegations are revealed.
We discussed these training lesson plans being retained on file at the Training
Institute. Update CCDOC’s general orders on relevant topics. Consider
amending OPR’s SOP to include the language in this provision.




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PROVISION

35.    Investigations - Investigations at the Facility are conducted by
independent departments under the Cook County Sheriff’s Office, including the
Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s
Police Department. The Cook County Sheriff will assume responsibility for
requiring these investigatory units to comply with the relevant provisions of this
Agreed Order.

c.    CCDOC [OPR] shall ensure that all internal investigations will include
timely, thorough, and documented interviews of all relevant staff and inmates
who were involved in, or witnessed, the incident in question.

Compliance Status:          Substantial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:



Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

I reviewed 10 files and found them to be in order, meaning they were consistent
with the policy in effect at the time; those done since April 2010 better
organized than those completed before. The files were organized per OPR
policy for the investigations since April 2010. Based on policy, this provision is
met. Supervisors review files and require additional work as necessary.

OPR investigation files were reviewed. OPR Standard Operations Procedures
provide clear guidance regarding how files will be prepared, monitored, as well
as supervisory review.


Monitor’s Recommendations:
None at this time.




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PROVISION

35.    Investigations - Investigations at the Facility are conducted by
independent departments under the Cook County Sheriff’s Office, including the
Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s
Police Department. The Cook County Sheriff will assume responsibility for
requiring these investigatory units to comply with the relevant provisions of this
Agreed Order.

d.     CCDOC [OPR] shall ensure that internal investigation reports shall include
all supporting evidence, including witness and participant statements, policies
and procedures relevant to the incident, physical evidence, video or audio
recordings, and relevant logs.

Compliance Status:          Substantial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants have established policy that provides that the OPR will conduct
investigations into serious allegations. As such, their standard operating
procedure manual is completed. There are systems in place to track
investigations (Monthly Case Statistics). The Director reports that training is
provided.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The defendants have a credible system. I reviewed ten files during the last tour,
including files for cases before the OPR’s standard operation procedures were
put in place in April 2010. I found the files contained the information noted
above; and as would be anticipated, the files for investigations after April 2010
are more organized.

Monitor’s Recommendations:

Continue supervisory review of investigative files to ensure compliance with
OPR’s standard operating procedures.




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PROVISION

35.    Investigations - Investigations at the Facility are conducted by
independent departments under the Cook County Sheriff’s Office, including the
Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s
Police Department. The Cook County Sheriff will assume responsibility for
requiring these investigatory units to comply with the relevant provisions of this
Agreed Order.

e.    CCDOC [OPR] shall ensure that all investigatory staff will receive pre-
service and in-service training on appropriate investigations policies and
procedures, the investigations tracking process, investigatory interviewing
techniques, and confidentiality requirements.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Defendants have established policy that provides that the OPR will conduct
investigations into serious allegations. As such, their standard operating
procedure manual is completed. The OPR Director reports that training is
provided to OPR employees.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

OPR Director reports that training is provided. I did not have an opportunity to
review the lesson plans. Also, when NIC’s Technical Assistance is provided there
will be recommendations regarding training for investigators who are charged
with investigating institutional sexual assault. These cases are handled by the
Cook County Sheriff’s Police, so a review of their training will also be needed.
See also recommendations in 35.b. regarding CCDOC management who will
be assigned Department Head Investigations.

Monitor’s Recommendations:

To gain substantial compliance, provide lesson plans; evidence of training
completed; and await assessment and implementation of recommendations
regarding investigations of institutional sexual misconduct.




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PROVISION

35.    Investigations - Investigations at the Facility are conducted by
independent departments under the Cook County Sheriff’s Office, including the
Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s
Police Department. The Cook County Sheriff will assume responsibility for
requiring these investigatory units to comply with the relevant provisions of this
Agreed Order.

f.     CCDOC shall provide all investigators who will be assigned to conduct
investigations of use of force incidents with specialized training in investigating
use of force incidents and allegations.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 35.e.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 35.e.

Monitor’s Recommendations:

See 35.e.




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PROVISION

35.    Investigations - Investigations at the Facility are conducted by
independent departments under the Cook County Sheriff’s Office, including the
Office of Professional Review, the Criminal Investigations Unit, and the Sheriff’s
Police Department. The Cook County Sheriff will assume responsibility for
requiring these investigatory units to comply with the relevant provisions of this
Agreed Order.

g.     CCDOC [OPR] shall ensure that the results of each internal investigation
shall be documented in an investigation report. CCDOC administration shall
review the investigation reports, along with the underlying documentation, and
take appropriate action. CCDOC shall implement appropriate remedies based
upon the results of internal investigations.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

OPR standard operating procedure 103.7 prescribes the Official Case Folder for
internal investigations that includes the Memorandum of Investigation. The
procedure requires a “command channel review” allowing for the CCDOC
Executive Director to review appropriate actions, including discipline,
prosecution, termination. There is no specific written directive that requires the
CCDOC to take remedial action, if indicated, regarding the results of internal
investigations.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

OPR SOP requires the command channel review. This, along with the Sheriff’s
Accountability meetings provide the opportunities to assess systemic issues and
address these. Written directives that guide how CCDOC will review and use
the information are needed. CCDOC related general orders/directives need to
be updated.

Monitor’s Recommendations:

Develop CCDOC policy regarding systemic assessments and remedial action.
Update CCDOC directives related to internal investigations.

See also 31.n.

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PROVISION

36.    Inmate Disciplinary Process

a.     CCDOC [OPR] shall maintain policies, procedures, and practices for a
formal disciplinary process, including prompt issuance of written disciplinary
citations, administrative review and disciplinary reports for alleged minor rule
violations, and due process for alleged major rules violations, in accordance
with generally accepted correctional standards.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC General Order 14.8A, effective date 2/21/97, Detainee Disciplinary
Hearing and Detention, provides an inmate disciplinary process which meets
generally accepted correctional practice. This written directive is under review
at this time.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

An inmate disciplinary hearing was observed during the tour in June ’10. The
inmate in that hearing agreed that he had been provided notice of the
hearing, charges, and allowed to call witnesses (which he had declined). Trend
data is maintained by each Division regarding the number of incidents and this
information is reviewed at the Sheriff’s weekly accountability meeting. Use of
IMACS will also provide the ability track incidents by a variety of factors.

Monitor’s Recommendations:

Per the CCSO’s written directive policy all policies will be reviewed annually. This
will ensure that this policy is kept current with case law. CCDOC is tracking
incidents by Division. See previous recommendations regarding assuring that
information from disciplinary reports is screened/reviewed relating to employee
misconduct and/or use of force.




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PROVISION

36.    Inmate Disciplinary Process

b.    CCDOC shall ensure that inmate disciplinary hearings are conducted in a
reasonably private and secure setting.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC General Order 14.8A, effective date 2/21/97, Detainee Disciplinary
Hearing and Detention, does not address the conduct of inmate disciplinary
hearings in a reasonably private and secure setting. This written directive is
under review.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The disciplinary hearing I observed was held in a quiet corner of the inmate
library. While staff may try to find a private and secure setting, this is not a policy
mandate.

Monitor’s Recommendations:

Amend the directive and training to instruct staff to, as security circumstances
permit, provide a private setting for disciplinary hearings.




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PROVISION

36.    Inmate Disciplinary Process

c.    CCDOC shall ensure that all inmates placed in lock down status are
provided with appropriate due process that has been developed and
implemented in policies and procedures, in accordance with generally
accepted correctional standards.

In an emergency, the Executive Director of CCDOC may order a lock down of
entire areas of the Facility in order to control the situation and address serious
security concerns. In such circumstances, it is not necessary to provide
disciplinary hearings to each inmate affected by the lock down. However, lock
downs of this nature shall be limited to only the time and scope necessary to
address the emergency. For the purposes of this Agreed Order, a “lock down”
shall not include the routine instances in which inmates are confined to their
cells, including periods of count, over night, shift change, movement, and
routine contraband sweeps.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

As described by those who negotiated this consent agreement, the concerns
addressed by this provision relate to a prior practice of locking down units over
weekends to search for contraband, etc. The CCDOC states that this practice
is no longer followed, except in emergency situations.

Defendants provided on September 14, 2010, an unsigned amendment,
effective 9/8/2010, to a CCDOC General Order #9.35 that partially incorporates
the language of this provision.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

CCDOC states the practice that precipitated this provision no longer occurs.
Direction to superintendents regarding this policy would provide proof of
compliance to this provision. I have not been able to evaluate the effect of the
amendment dated 9/8/2010 regarding lockdown levels.

Monitor’s Recommendations:
Rather than produce this amendment, review the entire General Order to
ensure that all Divisions are in compliance with the language of this provision.



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PROVISION

36.    Inmate Disciplinary Process

d.    CCDOC shall ensure that the disciplinary board’s written record
accurately reflects the testimony and discussion from the disciplinary hearing,
including any recommendations from a mental health professional regarding
the extent to which disciplinary charges are related to an inmate’s serious
mental illness or suggestions for minimizing the deleterious effect of disciplinary
measure on the mental health status of the inmate. Coordinate with Dr. Metzner

Compliance Status:          Non-compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC General Order 14.8A, effective date 2/21/97, Detainee Disciplinary
Hearing and Detention Section III. E. 7 describes the record that the Disciplinary
Hearing Board must create. Neither that section, nor section F., Disciplinary
Decisions, addresses the issue of the mental health status of the inmate. Both
CCDOC and Cermak indicate their willingness to develop policy guiding this
matter.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The defendants, both CCDOC and Cermak seem amendable to assuring that
the mental health status of inmates is a consideration in the inmate disciplinary
process. The policy direction must be developed that will guide the final
decisions of both parties in how this provision is operationalized, tracked,
documented, evaluate.

Monitor’s Recommendations:

Amend this order (needs updating from 1997) and include the above provisions.
Consider establishing an inmate management team approach in each Division
that will consolidate security, mental health, and medical representatives to
manage inmates who are mental health clients.

Dr. Metzner indicates that he agrees with this recommendation, please see his
report to the Court, page 21.




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PROVISION

36.    Inmate Disciplinary Process

e.    CCDOC shall alert Cermak when inmates are placed in disciplinary
segregation or protective custody. Coordinate with Dr. Shansky

Compliance Status:          Partial Compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC General Order 14.8A, effective date 2/21/97, Detainee Disciplinary
Hearing and Detention Section does not address notification to Cermak when
inmates are placed in disciplinary housing. The policy provides that inmates are
visited three times a week by a qualified health care official unless more
frequent care is needed. General Order (Draft) Special Management –
Custody Placement governs inmates classified into Protective Custody status,
but does not address alerting Cermak of the placement. Dr. Hart reports that
Cermak does receive some incident reports via fax, but doesn’t always know
the purpose of the fax being sent. Dr. Shansky did not have an opportunity to
review this provision.

Defendants provided on September 14, 2010: a memorandum from Elli
Montgomery, Medical Advocate, dated 1/13/2010, to superintendents in
Divisions 4, 9, and 11 notifying them to fax the names of inmates/detainees who
are placed in segregation; an unsigned memorandum dated September 9,
2010, from 1st Assistant Executive Director Gary Hickerson to all superintendents
requiring that Cermak be notified when an inmate is placed in Disciplinary
Segregation/Protective Custody/Administrative Segregation; and Special
Incarceration Medical Notification Form (unnumbered and undated).

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

I assume that the purpose of this notification is for Cermak to be timely notified if
one of their medical and/or mental health clients has been involved as a result
of some incident requiring reclassification/re-housing; and to ensure that
adjustments to medication management are made. Both CCDOC and Cermak
are amendable to this change. This process can be facilitated by CCDOC
providing Cermak with a movement report generated via IMACS each day (or
sooner). CCODC will need policy governing this, as will Cermak.

While I appreciate the CCDOC’s responsiveness in addressing areas noted as
non-compliance, I an unable to evaluate if this approach will be effective in this

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instance, especially as I am unable to review Cermak’s response to receiving
these notifications and Cermak’s subsequent action(s). The process needs to
be organized so that Cermak also receives notifications, or is able to timely learn
in some other way (for example accessing IMACS) when inmates are re-housed,
generally, and specifically moved out of specialized housing.

Monitor’s Recommendations:

While the general order was amended, the process needs to be evaluated so
that the results are what are envisioned by this provision; including Cermak’s
policies. I, with some reluctance, changed the compliance noted from non-
compliance to partial compliance based on my preliminary review; but noting
that more work needs to be done.

I renew my recommendation for CCDOC and Cermak to convene an inter-
disciplinary committee to address these specific policy/operational issues
needing coordination between Cermak and CCDOC as well as identify the
goals of this notification process and expected outcomes.




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PROVISION

36.    Inmate Disciplinary Process

f.    CCDOC shall permit a Cermak Qualified Mental Health Staff member to
serve on the disciplinary board. Coordinate with Dr. Metzner

Compliance Status:          Non-compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC General Order 14.8A, effective date 2/21/97, Detainee Disciplinary
Hearing and Detention Section does not address this provision. Dr. Metzner did
not evaluate, other than to offer advice to Cermak.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

All parties appear amenable to this provision, although there have been
discussions about the purposes of a qualified mental health staff serving on the
board – to provide information/advocate for clients; and/or act as a voting
member; or some other objectives. These philosophical differences need to be
resolved, and appropriate policies implemented. These other issues require
discussion/resolution: if Cermak has the mental health resources to attend all
hearings involving their mental health clients, how Cermak will be notified, the
timeliness of the notifications, what is the policy if the Cermak representation
wishes to be present but is unable to for whatever reason, and what information
will be provided to Cermak before the hearing. There may be other strategies
to ensure mental health input than serving on the disciplinary board, including
implementation of an inmate management team approach.

Monitor’s Recommendations:

The parties need to reach a resolution on this matter including identifying the
objectives of having this policy, develop written directives, and implement. Part
of the directive should address how this involvement is tracked and evaluated.
There is the inmate disciplinary information in IMACS which may provide the
means for notification, but, of course, this doesn’t address the other issues noted
above.

Dr. Metzner indicates that he agrees with this recommendation.




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                      DATE OF STATUS UPDATE: SEPTEMBER 20, 2010
PROVISION

37.    Classification

a.      CCDOC shall maintain policies and procedures for an appropriate,
objective classification system that separates inmates in housing units by
classification levels in order to protect inmates from unreasonable risk of harm.
The system shall include consideration of an inmate’s security level, severity of
current charge, types of prior commitments, suicide risk, history of escape
attempts, history of violence, and special needs. CCDOC shall use best efforts
to anticipate periods of unusual intake volume and schedule sufficient
classification staff to timely classify inmates.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

In 2006, Dr. Jim Austen provided technical assistance to CCDOC [through the
National Institute of Corrections] and those recommendations are not yet fully
implemented, due in part to awaiting the implemented IMACS system. The
classification instrument (and re-classification instrument) severity scale
developed in 2006, is used within IMACS to designate an inmate’s classification
(by way of an additive point scale), and then assigning housing. Development
of new housing plan was recommended by Dr. Austin in 2006. The NIC (through
Dr. Patricia Van Voorhis) is now working with Women’s Justice Services to
develop a gender–responsive classification instrument. [See undated report “A
Review of Classification Models for Women Offenders Technical Assistance
Report Prepared for the Cook County Sheriff’s Department, Department of
Women’s Services”] The inmate classification system has never been validated,
a process that analyzes data regarding inmate classification and indicators of
disorder in a facility. The classification unit does not maintain data what would
facilitate a validation study. There is very limited re-classification activity.

An inmate’s classification is established during the intake process in the
receiving area. The inmates are moved directly from the receiving area to the
housing indicated by their classification process. CCDOC reports that it
averages 6.5 hours to move inmates from the reception area to their housing.

While most inmates who come to CCDOC have had prior opportunities to bond
out or have another form of release, CCDOC reports that as many as 25% are
released within 72 hours of coming to the CCDOC.

A formal re-classification process is pending implementation, and CCDOC has
yet to define the purpose and process. CCDOC reports that it does not always

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flag when an in-custody inmate has upgraded or downgraded criminal
charges, which should trigger a re-classification. [See also Cook County Sheriff’s
Objective Classification Instructions Manual.]

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The current inmate classification and re-classification processes are very
problematic for the following reasons:

   •   At this time an unknown number of incoming new inmates/arrestees may
       doe not have their criminal history records transmitted/carried from their
       arresting agency to be used in the CDDOC reception process. The
       impact of this is that inmates may be under-classified because the
       CCDOC does not currently have the capacity to query criminal histories
       due to lack of certified employees, available employee resources, and
       lack of time in the accelerated process to move income arrestees out of
       the reception/booking areca to cells. The instrument used by CCDOC
       requires current offense, severity of prior criminal convictions, prior felony
       convictions, history of escape or attempts to escape, and history of
       institutional violence as the primary bases for classification. Practically, a
       number (unknown) of these incoming inmates are known in the system;
       and some will have bonds and current charges that would place them in
       maximum custody. The IMACS system will, at some time in the near future
       (unknown at this time) allow a link to the state’s criminal history record
       systems which will provide the critical information (assuming that the
       inmate is accurately identified). In the absence of this link to the state’s
       CCH, CCDOC reports that it does not have the resources to run this
       information for incoming inmates, and that doing so would substantially
       slow down the processing of in-coming inmates. Past attempts to ask
       arresting agencies or prosecutors to include the inmate’s CCH in the in-
       coming paperwork have not been successful. Chicago Police
       Department does include this information with the incoming arrestee.

   •   As noted above, the classification instrument has not been validated, and
       in fact, has some glaring issues, such as use of gang affiliation as an over-
       ride rather than a rated criteria, especially given the gang issues in Cook
       County and in the CCDOC. The rating instrument appears to be overly-
       simplistic given the size of the CCDOC, which is a function of the lack of
       validation which would provide the specific criteria linked to good or bad
       inmate behaviors for this system. CCDOC accepted good advice from
       Dr. Austen, but that does not relieve CCDOC of further developing the
       classification system based on the agency’s specific needs.

   •   The atmosphere in which classification interviews are taking place is
       unacceptable. The inmate’s classification interview takes place in the

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       receiving area in less than private booths. The noise, crowding, and
       general disruptive atmosphere is not conducive to the type of
       classification interviews that constitutes acceptable correctional practice.
       Acknowledging that the CCDOC is breaking ground on a new reception
       center, to be open in two years (best scenario) does not mitigate the
       current atmosphere. The “classification” interview currently done could
       best be categorized as a preliminary screening, not a full classification
       process, especially considering the potential gap in critical information
       (CCH) for a large number on inmates.

   •   The CCDOC does not have a classification housing unit, which means
       that inmates go directly from the receiving area into the facility, even with
       incomplete classification information. In systems of this size, it would be
       expected to have a classification housing unit, and in fact, CCDOC
       reports having one in the past, which was abandoned due to a variety of
       reasons, including crowding and the staffing resources to move inmates
       from the classification unit to their assigned housing. The purposes of
       classification housing are several, including but not limited to:
          o house inmates who have a high probability of being released within
               72 hours (based on criteria developed from historical data in
               CCDOC) thus saving the resources to move them to the divisions
               and further preventing movement of contraband;
          o house inmates to ensure that sufficient information has been
               developed to accurately classify, including but not limited to
               institutional history in IDOC (for example), follow-up medical and/or
               mental health screening, gang affiliation input etc. While it is now
               necessary to move inmates rapidly out of reception, this
               compromises the classification process;
          o observe and assess inmates’ institutional adjustment and behaviors
               if they are unknown to CCDOC; and
          o allow the classification interview, and related screening – including
               but not limited to PREA and mental/health to take place in a
               private atmosphere in which the officer can probe for more
               information, have relevant information at the time of the interview,
               and not have a premium placed on moving inmates rapidly
               through the process.
          o The use of classification housing also can consolidate
               medical/mental health resources and avoid rushing inmates
               through mental health and medical evaluations.

   •   As noted above, incoming new inmates with serious criminal charges
       and/or high bonds can be moved directly to maximum custody housing,
       not needing to be held in classification housing; but with the classification
       interview conducted at their housing location.



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   •   Currently, data regarding past institutional adjustment, disciplinary
       actions, etc. inside the CCDOC is not available during the classification
       process. With IMACS going forward, this data will be available, but past
       information is not now available unless the inmate is known to the
       screener or the employees in the division to which the inmate is assigned.
       This is one factor in the classification instrument.

   •   The CCDOC does not have a formal inmate housing plan. A classification
       process and housing plan are two separate elements of inmate
       management. A housing plan, a flexible and frequently updated
       document, identifies how bed space in the system will be used to
       accommodate the various inmate classifications to facilitate safe
       management. A housing plan is the result of knowing the accurate
       classifications of the inmates in custody – over time. The housing plan also
       anticipates how crowding, should it occur, will be managed (e.g., what
       housing areas will be double-bunked, etc.). The classification system
       should drive the housing plan, not the other way around.

   •   There appears to be no coordination between the plans for a gender-
       specific classification system under developed by the Women’s Justice
       Services and the current inmate classification system. Generally,
       nationwide women inmates are over-classified because all current
       classification instruments are male-based. The impact of implementing a
       gender-responsive classification system on CCDOC will be positive and
       wide-spread. This is a potentially very good step for the women inmates,
       but it must be coordinated with all stakeholders.

   •   Current CCDOC policy allows inmates to be moved within a division with
       the approval of the superintendent or on-duty highest-ranking officer, with
       notification to Classification to ensure that the housing information is
       adjusted to ensure an accurate inmate count. This process needs to be
       better defined so that information is gathered regarding why inmates are
       moved, and whether this is related to the accuracy of the initial
       classification. For example, if an inmate is moved because he/she can’t
       get along with other inmates, that perhaps relates to accuracy of the
       initial classification screening; of if the inmate has an issue with the
       employees assigned to that housing unit, that is a supervisory/training
       issue. Further evaluation of this process will assess whether inmates are
       moved for violations that are not resulting in a disciplinary infraction.
       While officers and supervisors need to have flexibility in housing inmates for
       security and safety issues, the implications of CCDOC’s current practices
       are broad for the classification, inmate management, and employee
       supervision perspectives.

   •   Events involving inmates who need to be moved are also related to the
       re-classification issue. If an inmate is unable to function in his/her assigned

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       housing, this should trigger a re-classification interview. If an inmate is
       given a disciplinary infraction, this should trigger a re-classification. If an
       inmate receives upgraded or downgraded criminal charges, this should
       trigger a re-classification. When an inmate is being released for special
       management housing, this should trigger a re-classification. Without these
       re-classifications, validating the current system will be difficult, and
       accepted correctional practice is not followed.

Monitor’s Recommendations:

The entire classification system needs immediate re-examination and updating.
The positive information is that the indicators of disorder in the divisions (e.g.,
weapons, fights, fires, disciplinary reports) support that the environment is
generally safe. However, the classification system and processes are well
outside accepted correctional practice, from the initial screening, to the lack of
classification housing, to lack of re-classifications (including upgraded or
downgraded criminal charges), to the ability of employees to move inmates
within divisions without triggering a re-classification. The fact that as many as
34,000 inmates are under-classified is troubling. The instrument itself needs to
reflect the realities for CCDOC (i.e., impact of gang affiliation).

There needs to be coordination between the gender-specific classification
initiatives underway and the inmate classification as a whole.

The status of the current classification process, along with the absence of
historical data will render a validation study more difficult, but none-the-less
critical.

The system also needs to be reviewed in terms of the pros and cons of re-
establishing a classification housing unit.

Staffing for the classification function needs review.

The new receiving facility will provide more appropriate, private initial screening.
But until that facility is done, the physical plant should be examined to
determine if there is a better place and time to conduct the classification (really
preliminary screening) interview.

The system needs to be validated, and for systems of this size, accepted
practice suggests that should be an annual process. However, the data to
conduct this validation study should be generated in-house, and the capacity
to do this, in-house. Periodic assistance from outside experts should be
considered to ensure that the process is objectively critiqued.




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PROVISION

37.    Classification

b.    CCDOC shall ensure that classification staff have sufficient access to
current information regarding cell availability on each division.

Compliance Status:          Partial compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

The CCDOC currently produces Daily Open Cells report several times each day.
It is planned that the IMACS system will produce the information to classification
staff about cell availability. I was unable to identify a policy that guides this
process in terms of production, updating/amendment, and management
oversight of this process.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The information is currently available in making housing decisions. The
policy/procedure that guides this data entry and updating process is undefined.

Monitor’s Recommendations:

Develop policy guidance. Once completed, ensure periodic quality control
checks to ensure that the information (cells not to be used, and cells which
have had repairs)are timely updated in the system.




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PROVISION

37.    Classification

c.   CCDOC shall include information on each inmate’s assignment to the
Special Incarceration Unit “level system” at the Facility in the new Jail
Management System, starting with the date the new Jail Management System
becomes operational.

Compliance Status:          Substantial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Information is included in IMACS regarding the inmate’s assignment.
Policy/procedure need to be updated.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

I do not know what “information on each inmate’s assignment to the Special
Incarceration Unit “level system” mean? If it means that the CCDOC is aware of
the housing location of inmates in the level system, IMACS provides and tracks
this information.

Monitor’s Recommendations:

If further definition of the issues which precipitated this provision are identified, I
will re-evaluate compliance.




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PROVISION

37.    Classification

d.      CCDOC shall provide training and access to all correctional officer
supervisors on the full capabilities of the new Jail Management System’s
classification and inmate tracking system (or any replacement system).

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Training regarding the IMACS system is included as part of pre-service and in-
service training. The system is gradually becoming fully operational. Additional
training is provided at those posts where knowledge of IMACS is critical (e.g.
booking, classification).

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Implementing a new information management system in a jail this size is a time
consuming and long-term process. The administration is committed to the job
and appears to have the vendor and in-house resources for training employees.
Compliance will include review of the lesson plans, measure of employee
knowledge, and how mistakes in the data entry and management of IMACS will
be identified and involved staff remediated.

Monitor’s Recommendations:

None at this time. Further recommendations pending review of how
implementation proceeds.




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PROVISION

37.    Classification

e.     CCDOC shall provide ongoing internal and external review and validation
of the inmate classification system to ensure its reliability and objectivity.

Compliance Status:          Non-compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 37.a. There has been no validation study of the system. CCDOC has had
discussions with Loyola University to have a criminal justice professor work as a
partner with CCDOC to design and implement a validation study, as well as
provide on-going assistance in the annual revalidation of the system.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The defendants are amenable to this work. Further review of the current process
is needed prior to proceeding. I have collected several classification validation
studies so that the CCDOC can see the outcomes. A system the size of CCDOC
needs to develop the in-house capacity to conduct annual validation studies of
the classification system; with periodic oversight/review by a qualified
academician, consultant, etc. The initiatives in Women’s Justice Services must
also be incorporated.

Monitor’s Recommendations:

Need for planning to review the current system and planning to implement a
validation system in place in CCDOC.




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PROVISION

38.    Inmate Grievance Process

a.    CCDOC shall maintain policies and procedures to ensure inmates have
access to an adequate grievance process and to ensure that grievances may
be accessed and filed confidentially, without requiring the intervention of a
correctional officer, in accordance with generally accepted correctional
standards. These policies and procedures should be applicable and
standardized across all the Facility divisions.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC General Order 14.5 Detainee Grievance Procedure, effective date,
2/21/97, outlines procedures that are consistent with generally accepted
correctional practice, and apply to all divisions. CCDOC indicates that inmate
grievances can be provided orally to officers and counselors (CRWs –
Correctional Rehabilitation Workers). Grievance boxes are emptied on each
shift by the superintendent’s designee, generally a sergeant. The forms are
processed by the program office in each division. Grievances are tracked using
an access data base program. Correctional counselors are available to assist
illiterate inmates. The inmate orientation video in Spanish and English provides
information to in-coming inmates regarding grievance procedures. OPR states
that it receives up to 30 inmate grievances a month, either forwarded by the
division or by inmates. See also 31.q. inmate reporting allegations of use of
force. CCDOC compiles a monthly Divisional Grievance Activity summary
report that includes assessment of the responsiveness per policy. CCDOC
graphs annual grievance data by division. For 2008: total of 2,329; 2009 total of
2,717 [increase of 16%]

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The policy doesn’t address: an inmate’s ability to orally file a grievance, access
by non-English speaking inmates; illiterate inmates; or disabled inmates. The
policy does not address the centralized function of gathering inmate grievance
data and analyzing the data. The policy does not address medical grievances,
or coordination with Cermak or food services. As would be expected the
largest percentage of grievances are medically related (70% for May 2010).
The process designates the CRWs as having primarily responsibility for collecting
and logging the grievance forms, but informal policy appears to involve the
designated sergeant. The policy doesn’t address inmates’ use of an inmate

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request form as a grievance. The policy doesn’t address how inmates who file
multiple, continual grievances are managed; although staff indicated that such
a situation doesn’t stop the grievance process.
The general order does not specifically address that grievance forms will be
available in all housing locations. The directive does allow inmates to submit
grievances on plain paper if forms are not available.

Monitor’s Recommendations:

This is a good opportunity for review and updating of the grievance general
order. The tracking of inmate grievances, and periodic, monthly reporting by
division and topic should be included in the sheriff’s accountability meeting as
an indicator of facility health and tracking resolutions. The issues created by the
large number of medically-related grievances which appear not to be
addressed in a timely to the satisfaction of the inmates, is a problem. CCDOC
and Cermak need to jointly address how the medically-related grievances will
be addressed in order to be timely and satisfy inmates (to the extent inmates will
be satisfied). The medical grievances are a concern to the inmates that must
take time from the nurses and CCDOC staff in the every day management of
the housing units. Address who is responsible for stocking the grievance forms in
each inmate housing area.

See also 31.q., 34.e.




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PROVISION

38.    Inmate Grievance Process

b.    CCDOC shall ensure that the grievances receive appropriate follow-up,
including informing the grievant of the outcome, providing a timely written
response, and tracking implementation of resolutions.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC General Order 14.5 Detainee Grievance Procedure, effective date,
2/21/97, addresses this provision

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The general order needs updating; which would result in this provision marked as
substantial compliance. The timely response to medical grievances from
Cermak remains an issue.

Monitor’s Recommendations:

Update the general order; ensure that information and data captured is used
as management information. Cermak and CCDOC need to identify a better
way to more effectively and timely respond to inmate medically-related
grievances.




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PROVISION

38.    Inmate Grievance Process

c.     CCDOC shall ensure that grievance forms are available on all units and
are available in Spanish. CCDOC shall ensure that there is adequate
opportunity for illiterate inmates and inmates who have physical or cognitive
disabilities to access the grievance system.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

The general order does not specifically state that forms are available in all
housing units, in English or Spanish, nor who is responsible for this function. The
general order does not address non-English speakers, nor illiterate inmates, nor
inmates with physical or cognitive disabilities.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 38 a. CCDOC indicated that Cermak had procedures in place for inmates
with disabilities to file grievances, but I was not able to verify this.
The order does not address the remaining language in this provision.
The CCDOC general order states that it will be audited at least annually. I did
not see any annual audit of the system.

Monitor’s Recommendations:

See 38.a. Also coordinate grievance procedures with Cermak, food services,
and ensure there is a procedure in place for inmates with disabilities to grieve.

Revise/update order to comply with this provision.




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PROVISION

38.    Inmate Grievance Process

d.     CCDOC shall ensure that inmate grievances are screened for allegations
of staff misconduct and, if the incident or allegation meets established criteria,
are referred for investigation. A member of the management staff shall review
the grievance tracking system regularly in order to identify areas of concern.

Compliance Status:          Non-compliance

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

While this may being done, it is not in policy. OPR does receive grievances, and
acts on them when received.

Defendants provided as documentation of compliance, letters sent to
complainants regarding investigation of inmate grievances. Also provided was
a listing what appear to be inmate grievances, including notations that some
have been referred for investigation, not identifying the source of the listing.
The policy that guides this process was not provided/identified.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

Tracking system, along with analysis of data is vital for improved incident
management. Coordination with food service and Cermak – most likely the two
areas where for which grievances are received – are necessary, along with the
creation of the policy guidance. The policy guidance should assign the
responsibilities to implement this provision, including
management/administrative oversight and collaboration between OPR and
CCDOC.

Monitor’s Recommendations:

Address this provision in policy. Develop a system for documenting the review
procedures that trigger reporting to OPR. Document how many incidents of
allegations of staff misconduct come from inmate grievances rather than
incident reports.

See also 31.q., 34.e.




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PROVISION

39.    Access to Information

a.    CCDOC shall ensure that newly admitted inmates receive information,
through an inmate handbook or orientation video, regarding the following
areas: facility rules and regulations; how to report misconduct; how to report
sexual abuse or assault; the process for accessing medical and mental health
care; emergency procedures; rules for sending and receiving mail; the visitation
process; facility schedule; the disciplinary process; and how to seek redress of
grievances.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

The Inmate handbook (dated July 27, 2007) provides inmates with written
information including (but not limited to): general rules, rights and responsibilities,
prevention of sexual assault, reporting of sexual assault, treatment re: sexual
assault, disciplinary procedures, specific rules and penalties for violation if found
guilty; grievance procedure; request program information, requesting health
care services, requesting social services, law library, religious services,
educational programs, substance abuse treatment, female furlough program,
mandatory furlough, mail, meals, and visiting procedures. I do not see a specific
reference to mental health care.

CCDOC supplied me with a video in which an officer reads the rules in English
and Spanish. The videos approach an hour in length.

CCDOC notes that rules are posted in each housing unit.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

I saw inmates in the receiving area with copies of the inmate handbook.
Hopefully these copies were more readable that the one I have, which is too
small in print and difficult to see. It is not well organized; nor, in my opinion, at
an acceptable grade level. The provisions regarding prevention and reporting
of sexual assault were adequate, but more information is needed. Mental
health care is missing.

CCDOC General Order 13.1, Classification; Procedures for Intake Processing of
New Inmates and Court, does not address the inmate orientation process.



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The videos are too long, and certainly would not retain the inmates’ attention
for one hour as the officers read from the inmate handbook. It is unclear where
this video is played, and if it is played in the reception area, the atmosphere
there is not conducive to hearing or understanding it.

This is another reason to consider classification housing. In that environment a
well-produced video can play in English and other-than-English in a quiet
atmosphere, with staff available to answer questions. Inmates should sign for
their handbook after the elements have been explained to them, or after they
have viewed a video with employees available to answer questions.

I did observe the handbook/rules taped onto the glass in the housing units;
which is a way to disrupt surveillance.

I did not observe policy regarding providing orientation for individuals with visual
or hearing impairments, developmentally disabled, non-English speaking, or
illiterate inmates.

Monitor’s Recommendations:

See recommendation regarding classification. The entire intake process needs
to be rethought. The Handbook needs to be updated, placed in grade
appropriate language, and produced so it can be easily seen/read. The
current video is difficult to watch for an hour and, if no staff are present, there is
no way for inmates to ask questions. I have not located procedures guiding
orientation to the populations noted above. There was discussion about placing
an orientation/rule video on an internal cable system so that it can be played
daily in each housing unit. Orientation, and review of rules, accessing
medical/mental health, grievances, are important and if that information is
intended to be imparted in the reception process, it would be very difficult to
assimilate.




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PROVISION

39.    Access to Information

b.    CCDOC shall ensure that materials on facility rules and services are
available for non-literate and non-English speaking inmates.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

See 39.a.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

See 39.a

I did not see the policy that guided orientation of inmates who are non-English
speakers, illiterate or disabled.

Monitor’s Recommendations:

See 39.a.




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PROVISION

40.   CCDOC shall provide training and supervision to all correctional officers
and supervisors sufficient to implement the provisions of this Agreed Order.

Compliance Status:          Partial compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Pre-service and in-service training is provided (40 hours of in-service training
year, exclusive of specialized training).
Defendants provided on September 14, 2010, “State Curriculum Lesson Plans
2010” which appears to be an index. The index lists under Use of Force, the
USDOJ order.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

The Defendants report that the Agreed order is included as part of in-service
training for employees, and provided a list of lesson plans that include such. I
have not reviewed that lesson plan, nor observed the instruction. I was unable
to identify how this information is included in pre-service training.

Monitor’s Recommendations:

Track pre-service and in-service training related to the provisions of this Agreed
Order. It was suggested that the consent agreement be placed on the
CCDOC’s intra-net so that interested employees can review the document.
Prepare a lesson plan that addresses this topic and provide for my review.




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PROVISION

41.    Inter-Agency Agreement

a.     CCDOC shall enter into a written Inter-Agency Agreement with Cermak
       that delineates the mutual responsibilities of each party, relative to the
       provision of health care to inmates at the Facility. The Inter-Agency
       Agreement shall be finalized within 60 days of the effective date of this
       Agreed Order.
b.     Cermak shall enter into a written Inter-Agency Agreement with CCDOC
       that delineates the mutual responsibilities of each party, relative to the
       provision of health care to inmates at the Facility. The Inter-Agency
       Agreement shall be finalized within 60 days of the effective date of this
       Agreed Order.

Compliance Status:          Non-compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

Agreements under development.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

None at this time.

Monitor’s Recommendations:

It would be beneficial if the same arrangements can be concluded with DFM to
help ensure that when substantial compliance is obtained, it is sustainable.
The agreement should also resolve the related training issues.




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PROVISION

69.  CCDOC shall ensure that security staff posts will be equipped, as
appropriate, with readily available, safely secured, suicide cut-down tools.
Coordinate with Dr. Metzner

Compliance Status:          Non-compliance.

Status Update: Briefly describe the actions taken by the Defendants to address
the provision:

CCDOC is working on a proposal, policy and lesson plans. The draft general
order dated 6/15/2010 was provided for review on September 14, 2010.

Monitor’s Assessment: Describe the monitor’s assessment of the status and
documentation for the compliance status.

CCDOC described their current proposal to me, placing cut-down tools on the
individual post’s key ring.

Monitor’s Recommendations:

Continue with development and implementation plan, policy, training lesson
plans, and training. Coordinate with Cermak. Ensure that there are
accountability measures and audits provided in the order.




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